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JAMES R. ST|LLWAGON,

Plaintiff,
v.

THE ClTY OF DELAWAREl

 

and
DETECT|VE BENJAM|N SEGAARD Case No. 2 of 1 4 C `1] .... 8 0 7
and
FORMER DETECT|VE PATR|CK GERKE,
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and COl\/lPLAlNT AND
JURY DEl\/lAND

OFFlCER ADAM W|LLAUER,
and

DETECT|VE SERGEANT JONATHAN
RADABAUGH,

and
R|CHARD O. MATT|NGLY,

Defendants.

JUR|SD|CT|ON

This is a civil rights action alleging police misconduct. The Plaintiff alleges that the

defendants violated his constitutional rights, as protected by 42 U.S.C. §1983, and further

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committed tortious conduct pursuant to Ohio law. The Court has jurisdiction pursuant to
28 U.S.C. §§ 1331 and 1367(a).
|NTRODUCTORY SUMMARY

1. The facts in this case have already been thoroughly developed The liability
ofthe defendants is based upon a very large number of important details. Forthis reason,
an initial summary may be useful. While riding his motorcycle on a Sunday afternoon, on
Route 42 north of Columbus, l\/|r. Sti||wagon Was the victim of a series of criminal assaults
by a drunk driver operating a large hemi pickup truck. This driver attempted to run l\/lr.
Sti||wagon off the road, and attempted repeatedly to strike the P|aintiff with his truck. l\/lr.
Stillwagon did everything he could to escape these assaults. At one point he pulled off the
road and Waited several minutes after the truck drove on, hoping to end the encounter.
However, the drunk driver parked in a concealed ambush a few miles down the road.
When l\/lr. Sti||wagon subsequently rode by, the truck pulled out behind him and continued
the assaultive driving.

2. This series of near-fatal assaults, including at least six separate attacks at
different locations, continued into the City of Delaware. After the drunk driver tried to run
him over on an exit ramp, l\/lr. Stillwagon entered a parking lot and sought protection by
parking beside a concrete structure located there. The truck also entered the parking lot.

!\./!r. StillWagon Was !anu!!y in possession of a handgun, and he used

it to successfuiiy
disable the truck by shooting out the rear tire. When the truck came to a halt, and the
intoxicated driver got out, l\/lr. Stillwagon approached him, struck him in the head once

knocking him to the ground, and shouted at bystanders to call the police. He then set the

pistol down in a visible location and Waited for police to arrive.

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3. When the police arrived l\/lr. Sti||wagon explained exactly what had happened
He was taken into custody, taken to the Delaware Po|ice Department, and interrogated
He again told the defendants exactly what had happened truthfully and specifical|y. He
acknowledged firing his weapon at the truck, but he told them he had neither shot nor
attempted to shoot the driver of the truck. He told them that the man had “tried to kill me
about six times.”

4. Amazingly, the defendants arrested l\/lr. Sti||wagon rather than the
perpetrator, and subsequently caused the P|aintiff to be charged with four counts of
felonious assault ln their pursuit of charges against Mr. Sti||wagon, the defendants falsely
alleged that he had engaged in “road rage" against the truck driver, had pursued the truck
driver, had stood at a distance, pointed his pistol, and shot the other man in the head in
cold blood |n truth, l\/lr. Sti||wagon never engaged in any road rage conduct whatsoever.
The drunk driver was the sole aggressor and pursued Mr. Sti||wagon. Further, the drunk
driver was never shot at a|l, nor did the P|aintiff ever make any attempt to shoot him.
These charges were entirely groundless and false.

5. ln orderto achieve their stated goal to “get Sti||wagon”, the police defendants
engaged in numerous improper and unlawful acts. They ignored and suppressed the
forensic evidence in the case, which clearly disproved their accusations They disregarded
eyewitnesses who supported l\/lr. Sti||wagon’s innocence. They promised the real
perpetrator immunity from any responsibility for his actions if he would cooperate in their
prosecution of Mr. Sti||wagon. They destroyed or discarded known exculpatory evidence,
and failed to gather and preserve other known exculpatory evidence. They threatened
coaxed and coached the driver of the truck to change his testimony on certain facts in

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order to strengthen their case against Mr. Sti||wagon.

6. As Mr. Sti||wagon’s criminal trial approached the prosecution communicated
to his legal team a series of increasingly reduced plea bargain offers Mr. Sti||wagon
refused to plead guilty to anything, since he was in fact a crime victim rather than a
criminal. Ajury trial commenced lVlr. Sti||wagon’s complete innocence was established
beyond dispute, and all charges were dismissed by the Court at the end of the evidence.

7. As a result of this false arrest and malicious prosecution, l\/lr. Sti||wagon was
forced to spend over $400,000.00 for bond legal fees and investigators to prove his
innocence. His business suffered serious and ongoing financial losses due to the false
allegations. l\/lost importantly, l\/lr. Sti||wagon and his family have suffered immense insult,
humiliation and injury to his reputation and name. He is still thought of by most of the
public as the former Ohio State football star who had a fit of road rage and shot someone.
All of this is due to the unlawful actions of the defendants.

PART|ES

8. P|aintiff James R. Sti||wagon is a sixty-five year old resident of Franklin
County, Ohio. He was born and raised in lVlt. Vernon, Ohio. He has been married to his
wife Effie for over 43 years They have three adult daughters who are employed as a
doctor, a pharmacist, and a registered nurse. l\/lr. Sti||wagon has no criminal record

‘tlwagon attended liig‘h school at the Augusta lvlllltary Academy in

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Virginia, where he excelled. He then attended The Ohio State University, where he
obtained his degree in four years
10. l\/lr. Sti||wagon was recruited to attend Ohio State by football coach Woody

Hayes, and he was awarded a full four-year scholarship. He was a captain of the Ohio

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State football team, a member of the 1968 national championship team and a two-time
consensus All-American. He was the winner of the Knute Rockne award and the Outland
trophy, both awards given to the best college lineman in America. ln 1970 he was
presented by then-Vice President Agnew with the first ever Vince Lombardi Trophy, as the
best college lineman in America. He was drafted by the Green Bay Packers, but chose to
play professional football in the Canadian Football League, where he was a perennial all-
pro. l\/lr. Sti||wagon’s skills and success as an athlete would not be particularly relevant
herein, except that they were the subject of discussion by the defendants including critical
or insulting comments at the time when the decision was made to prosecute the P|aintiff.

11. Since retiring from professional football, l\/lr. Sti||wagon has been a successful
businessman He and his wife own and operate Sti||wagon Enterprises and Sti||wagon
Promotions and Awards They produce and sell specia|ityjewelry items awards wearable
items and other products for businesses and associations l\/lr. Sti||wagon operates an
office, warehouse and production facility in Dublin, Ohio. He has also been a successful
designer and inventor of patented electrical products purchased and used by utility
companies and of security lock systems used by Coca-Cola and other companies on their
vending machines /-\gain, l\/lr. Sti||wagon’s success as a businessman would not be
particularly relevant hereinl except that his economic status was the subject of discussion
by the defendants including critical or insulting comments at the time when the
defendants were initiating the prosecution against him.

12. Defendant Richard O. l\/lattingly is approximately 42 years old On the date
of the events herein he was a resident of Kettering, Ohio. He was the intoxicated driver
of the truck on the date in question. He is a person with a proven history of sociopathic

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violence, including the violent homicide of his own infant son during a drunken rage. Atthe
time of the events herein he had spent about half of his adult life in prison, and he was on
parole from the State of Wisconsin when he attacked Mr. Sti||wagon.

13. Defendant City of Delaware is a duly authorized and operating municipality,
and a political subdivision pursuant to Ohio law, located in Delaware County, Ohio. lt was
at all times relevant the employer, master and principal of Defendants Segaard Gerke,
Wi|lauer and Radabaugh.

14. Defendant Detective Segaard is and was at all times relevant a police
detective and an employee, agent and servant of Defendant City of Delaware. During his
employment with the Delaware Police Department priorto the events herein, he had been
subject to repeated criticism in his evaluations for low rates of criminal enforcement, low
rates of solving cases and lack of thoroughness and follow-through on investigations

15. Defendant former Detective Gerke was at all times relevant a police detective
and an employee, agent and servant of Defendant City of Delaware. During his
employment with the Delaware Police Department priorto the events herein, he had been
subject to repeated criticism in his evaluations for failure to pay attention to detail in his
cases cutting corners with his reports failure to stay on top of his investigations not
documenting his investigations and failure to complete investigations l\/lr. Gerke is no
longer a police officer. He was indicted for both f"Io"ry a“`rd misdemeanor charges involving
dishonesty. This included the use of computers at the Delaware Police Department to
engage in illegal activities He subsequently pled guilty to the felony offense of “identity
fraud” and the misdemeanor offense of “attempted forgery.” As a part of the plea bargain,
Defendant Gerke surrendered his certification as a police officer, and will never be

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permitted to work in law enforcement again.

16. Defendant Detective Sergeant Radabaugh is and was at all times relevant
a supervisor of police detectives and an employee, agent and servant of Defendant City
of Delaware. On the date of the P|aintiff’s arrest and throughout his prosecution,
Defendant Radabaugh was the supervisor of Defendants Segaard and Gerke.

17. Defendant OfficerWillauer is and was at all times relevant a police officer and
an employee, agent and servant of Defendant City of Delaware.

18. Defendants Segaard Gerke, Radabaugh and Wi|lauer are sued in their
individual capacities All of the actions of the defendants herein were done within the
scope of their employment, and under color of law. Further, all acts of the defendants
herein were done knowingly, recklessly, in bad faith and/or maliciously.

FACTS REGARD|NG DEFENDANT MATT|NGLY’S
CR|M|NAL ATTACKS ON MR. ST|LLWAGON

19. On Sunday, September 30, 2012, l\/lr. Sti||wagon spent the morning with his
family, attending his grandson’s baseball game. When it was over, he told his wife that he
was going to the Sti||wagon Enterprises facility to clean up. They had worked late getting
out a big order the night before, and left the office a mess. After that he was going to ride
his Bl\/lW motorcycle to l\/lt. Vernon to visit his parents’ gravesite, and he said he would be
horne for supper.

20. l\/lr. Sti||wagon went home, changed into his riding clothes and went to the
office. As was his normal habit when he was going to be at the office alone, Mr. Sti||wagon
took a firearm with him. The nature of his business included promotional products

containing diamonds and otherjewels, and there had been break-ins at area businesses

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Mr. Sti||wagon had obtained a concealed carry permit back in 2009, and his possession of
the firearm on that date was entirely legal.

21. Mr. Sti||wagon cleaned and straightened up the warehouse area where they
had been working the day before. Then he set out for l\/lt. Vernon on his motorcycle. He
was wearing full riding gear, gloves and helmet. His personal effects including the
handgun, were stored in the tank bag of the motorcycle.

22. On that same Sunday morning, Defendant l\/lattingly got up at his home in
Kettering and began drinking. He consumed a large amount ofalcohol at home. Then he
went out, got into a big Dodge Ram hemi pickup truck, and headed off for a drive on the
public highways in a state of intoxication. He continued drinking beer in the truck as he
drove. He ended up heading north on U.S. Rt.42.

23. lVlr. Sti||wagon and Defendant l\/lattingly first came into contact at a Marathon
station located at the intersection of Rt. 42 and Rt. 33, although the P|aintiff was unaware
of l\/lattingly’s presence l\/lr. Sti||wagon had pulled into the station, pulled up to a pump,
and stood there getting gas for the motorcycle He then paid for the gas at the pump by
credit card.

24. Security camera footage from the station, which was later obtained by the
P|aintiff’s legal team, reveals that Defendant Mattingly was at that same l\/larathon station

at exactly the same time. . .e had stopped there to buy more beer. ms truck was parked
at a pump directly behind the one where lVlr. Sti||wagon was getting gas When l\/lattingly
came out of the store and climbed into the large silver pickup truck, Mr. Sti||wagon was

directly in front of him.

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25. As the video shows Defendant l\/lattingly sat in the truck for some time,
facing the P|aintiff, until Mr. Sti||wagon started his bike, took it offthe kickstand and began
to pull away. The silver truck followed The video shows Mr. Stillwagon crossing the lot,
turning to the right and leaving the l\/larathon station onto Rt. 42 north. Unbeknownst to Mr.
Sti||wagon, the defendantfollowed him. During these moments Defendant l\/lattinglyfixated
on the P|aintiff, and decided to initiate assaultive behavior with his truck against the man
on the motorcycle The video shows the truck pulling out of the lot and accelerating rapidly
in the direction of the motorcycle The first attempt on Mr. Sti||wagon’s life occurred only
seconds later, and only 3/10ths of a mile from the l\/larathon station_

(a) Defendant Mattinqlv’s First Attack -
The Route 33 Bridge

26. The P|aintiff has prepared a map, which is attached as Exhibit 1, to assist the
Court in understanding the events that occurred on Route 42, as described hereafter.
Route 42 north crosses over Route 33 on an elevated bridge immediately adjacent to the
l\/larathon station. When l\/lr. Sti||wagon pulled out he began to cross over Route 33. He
was traveling at about 50 miles per hour. At the other side of the overpass the road
narrows from four lanes to two. As the P|aintiff approached this merger, the silver truck
sped past him on the left, cutting off l\/lr. Sti||wagon and nearly hitting him. The truck came
within six inches of lVlr. Sti||wagon’s motorcycle, startling the P|aintiff. As the truck went
past l\/lr. Sti||wagon could see the driver looking directly at him, laughing and grinning.

27. The silver truck sped on out of sight. lVlr. Sti||wagon had been frightened by
this near-collision. He continued on his way at his normal speed lt never occurred to him

that he would see the big silver pickup again. He was mistaken. Less than two miles

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further along the road l\/lr. Sti||wagon observed the same truck, completely stopped in the
roadway ahead of him. Defendant l\/lattingly was waving a blue metal baseball bat out of
the driver’s side window, and signaling for the motorcycle to go around him.

28. Wishing to avoid any further contact with this man, Mr. Sti||wagon stopped
40-50 yards back from the truck. The truck began to move, but was driving erratically. The
P|aintiff kept his distance Once again, Defendant Mattingly waved his baseball bat out the
window, urging the P|aintiff to come by him, but Mr. Sti||wagon stayed back. The truck
eventually fell in behind a slow moving car traveling at about 45 miles per hour. Since
another car was present, the P|aintiff thought that this preying upon him would end if he
passed both vehicles and sped up. This is what he did This was the one and only time
that l\/lr. Sti||wagon ever passed the truck on the highway that day.

1b) Defendant Mattinq|v’s Second Attack -
Near Watkinsllllloore Road

29. Mr. Sti||wagon carefully passed these two vehicles and began to putdistance
between himself and the truck. However, he kept checking his rear view mirror. Only
moments after Mr. Sti||wagon had passed he saw the truck come around the slower
moving car at a great rate of speed Traveling in the left lane of this two-lane road
Defendant Mattingly drove toward Mr. Sti||wagon. The truck pulled up next to the
motorcycle Defendant Mattingly rode parallel to l\/lr. Sti||wagon for a few seconds holding
the baseball bat in his right hand and shaking it at the P|aintiff. Then Mattingly made
several cut-in moves into l\/lr. Sti||wagon’s bike, attempting to hit it. On the third try, Mr.
Sti||wagon abruptly braked his bike When Defendant Mattingly saw this he accelerated

quickly, made a sharp right turn immediately in front of lVlr. Sti||wagon, and slammed on his

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brakes lVlr. Sti||wagon reacted by slamming on his own brakes thereby barely avoiding
crashing into the back of l\/lattingly’s truck.

30. This was an intentional effortto injure Mr. Sti||wagon, by causing him to wreck
his motorcycle or to collide with the truck. lt was very nearly successful. Another driver
who was an eyewitness to this event later testified to this assault by Defendant Mattingly
as follows: “He kicked out around the motorcycle and went into the southbound lane . . .
So, he got close to the motorcycle . . .came in immediately and l saw brake lights; it wasn’t
a tap, it wasn’t a signal, it was brake lights brake lights brake lights That bike’s going
rightdown. . . he had no chance lthought l would be picking him up. . . l don’t know how
he kept his bike up. . . The motorcycle wasn’t. . . he hadn’t done anything abnormal at all.
. . l was sure he was going to go right under that truck. . . lt really affected me . .that’s the
first time l ever seen a truck really try to kill a motorcyclist.”

31. ln addition to nearly killing Mr. Sti||wagon, Defendant l\/lattingly’s conduct near
Watkins/l\/|oore Road endangered the lives and safety of other innocent persons As the
silver pickup entered the southbound lane and charged toward Mr. Sti||wagon, several
vehicles traveling south were forced to swerve off the road in order to avoid a head-on
collision with the truck.

32. This second attack upon the P|aintiff occurred just south of the intersection
of Route 42 and Watkins/l\/loore Road (See Exhibit 1) As the vehicles approached that
intersection, the light turned red. Defendant l\/lattingly ran the red light and continued north
on Route 42, until he was out of sight. l\/lr. Sti||wagon stopped at the light and waited After
the light changed he proceeded forward slowly and pulled into a gravel parking area just
past the light. He turned off his motorcycle Mr. Sti||wagon’s intent was t0 wait until the

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truck was long gone before proceeding on his way. A female driver pulled in and parked
nearthe P|aintiff, and shortly thereafter a male driver also pulled his vehicle into the gravel
lot. Both of these people indicated that they had seen the truck driver’s attempt on l\/lr.
Sti||wagon’s life. They described the truck driver as “crazy”. They asked if l\/lr. Sti||wagon
was alright, and whether he needed help.

33. As they were talking, the male witness asked Mr. Sti||wagon whether he had
obtained the truck’s license plate, but the P|aintiff had not. The male witness asked l\/lr.
Sti||wagon if he wanted him to call the police The P|aintiff said yes he should call the
police The gentleman went back to his vehicle, made the call, and subsequently
returned He reported that the police said there was nothing they could do. However, the
police had indicated that if the parties wished to wait there, they would send someone out
to take a report. Both the P|aintiff and the other drivers felt that this would be pointless

34. By this time, Defendant Mattingly had been gone for approximately ten
minutes and the P|aintiff felt safe in proceeding with his trip to Mt. Vernon. He did not
expect to see the silvertruck again. As a precautionl however, l\/lr. Sti||wagon removed his
firearm from the tank bag and secured it on his person. He started his bike, pulled out, and
continued on his way at a leisurely pace

@Defendant Mattim|y’s Third and Fourth Attacks -
The Ambush at Section Line Road

35. Unfortunately, after he leftthe P|aintiff at Watkins/l\/loore Road the intoxicated
l\/lr. Mattingly decided that he was not yet finished with his campaign of terror against the
man on the motorcycle He drove about four miles north on Route 42, to the intersection

of Section Line Road (See Exhibit 1) There he circled his truck around behind a building

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on the corner, to a location where he could watch the road without being seen. He waited
in ambush for the motorcyclist to come by.

36. Eventually, Defendant Mattingly saw l\/lr. Sti||wagon pass through the
intersection of Route 42 and Section Line Road at a normal rate of speed lt had now
been about fifteen minutes since their last contact. When Mattingly observed the P|aintiff
go by, he pulled around the building and entered northbound Route 42, following l\/lr.
Sti||wagon. There were several cars between him and the Plaintiff.

37. Once again Defendant Mattingly began driving dangerously, turning on his
headlights crossing left of center into the southbound lane, into oncoming traffic, and
passing approximately eight cars ahead of him. This forced at least three southbound
drivers to pull off the road quickly in order to avoid a head-on collision with l\/lattingly’s
truck. l\/lattingly then pulled back into the right lane and accelerated his truck in an attempt
to strike l\/lr. Sti||wagon from behind The P|aintiff saw the truck coming up quickly, and
was able to escape being hit by speeding up to almost 85 miles per hour, but Defendant
Mattingly got so close that there were only inches between the truck’s front bumper and
the back of Mr. Sti||wagon’s motorcycle The P|aintiff could see that l\/lr. Mattingly was
grinning and laughing.

38. After10-15 seconds of high speed pursuit from behind Defendant Mattingly
slowed down, and backed away from the bike. However, the truck soon accelerated into
the southbound lane and at about 70 miles per hour, Mattingly started his cut-in moves
again. The P|aintiff braked again, Mattingly sped past lVlr. Sti||wagon, quickly cut in front
of him, and again slammed on his brakes causing l\/lr. Sti||wagon to nearly crash into the
back of l\/lattingly’s truck for the second time lVlr. Sti||wagon was able to swerve, apply his

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brakes hard, and avoid the collision, but again it was a close call. This encounter ended
as l\/lr. Sti||wagon slowed in an effort to get away from Defendant Mattingly, and the
Defendant sped away down the road, out of sight. l\/lr. Sti||wagon did not see Mattingly for
a period of time thereafter, and he drove slowly and cautiously in the hope that this
frightening encounter was now over,

(d) Defendant Mattinqlv’s Fifth Attack - On the
Exit Ramp to William Street

39. As Route 42 approaches Delaware it curves left and merges with Route 23
for a few miles. This portion of the road is four-lane divided highway. Then there is an exit
ramp to the right which goes down to William Street in Delaware. Route 23 continues
straight ahead. Route 42 takes the exit ramp and then intersects with Route 36. (See
Exhibit 1) At the bottom of the ramp is a traffic light at Wil|iam Street, and Route 36 turns
to the right at that light.

40. Mr. Sti||wagon’s normal and intended route of travel was to follow Route 36.
Thus, he would get in the right lane on 23/42, take the William Street exit, go down the exit
ramp to the light at the bottom, turn right onto William Street and continue on Route 36
toward l\/lt. Vernon. This is exactly the path he followed on the date in question.

41. As he was nearing the point where Routes 23 and 42 joined, Mr. Sti||wagon
saw Mattingly’s truck once more. lt was far ahead of him, and it disappeared out of sight.
As the P|aintiff got nearer to his exit ramp, he saw the truck again. lt was ahead of him,
positioned in the far left passing lane, as if it were continuing on Route 23, but it was

traveling at a very slow speed, 10-20 miles per hour, with vehicles backed up behind it.

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42. l\/lr. Sti||wagon moved to the right into the exit lane for Route 36/VVilliam
Street. lt appeared that Defendant Mattingly would go straight on Route 23, the P|aintiff
would exit onto William Street, and the two would thus be separated This is not what
happened, however. Defendant l\/lattingly was looking back, waiting to see which way the
motorcycle would go. When l\/lr. Sti||wagon put on his turn signal and moved to the right
into the exit lane, Mattingly - - who was nearly past the exit area but not quite - - made a
sudden, radical turn to the right, crossed two lanes of traffic at 90 degrees, and just made
it onto the ramp. The P|aintiff saw this and understood that the silver pickup truck was
stalking him from the front again.

43. On the exit ramp l\/lr. Sti||wagon slowed down and kept a substantial distance
between himself and the truck which was now in front of him. When Defendant Mattingly
got to the bottom of the exit ramp the traffic light was green, but he stopped his truck there
anyway. His vehicle was straddling the left and right-turn lanes, stopped right in the
middle. Mattingly was looking back at lVlr. Sti||wagon. lt was obvious that he was waiting
for the motorcycle to approach.

44. l\/lr. Sti||wagon did not wish to get near the truck. He pulled his motorcycle
to the right and stopped more than 130 feet back from the intersection. The exit ramp is
closed in at that point. To the P|aintiff’s left was a concrete wall about twenty feet high, to
the right was an unbroken guardrail in front of a heavily wooded area leading down to the
Olentangy River banks. (See Exhibit 2, attached) There was nowhere to go except forward,
so l\/lr. Sti||wagon determined that he would have to wait there until the driver of the truck

went on. Once again, however, Defendant Mattingly did something unexpected

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45. Defendant l\/lattingly put the truck in reverse, and the vehicle began to
accelerate backwards, up the exit ramp, heading toward l\/lr. Sti||wagon. The P|aintiff
retrieved his pistol and pointed it at the oncoming truck. He did not intend or wish to shoot
the driver, only to make the truck stopl so he aimed for an area on the rear truck bed by
the tailgate latch, to the right of the driver’s position. l\/lr. Sti||wagon fired three times. By
thethird shot, Mattingly had stopped backing up and begun to drive fon/vard again. P|aintiff
saw the truck run a red light nearly striking eastbound traffic, turn right onto William Street
rapidly and disappear from his sight. P|aintiff put away the firearm.

46. l\/lr. Sti||wagon proceeded fon/vard to the light, which was still red forthe exit
ramp, and he stopped there for 25-30 seconds. He could not yet see down William Street
to the right, but he expected that his use of gunfire would have had the desired effect. The
threatening truck driver would now know that the man on the motorcycle was armed, and
the silver pickup would be gone. l\/lr. Sti||wagon would continue on Route 36 toward Mt.
Vernon, his destination, without further problems. When the light changed and the P|aintiff
came around the corner, however, there was the truck stopped dead in the right lane of
William Street a short distance ahead

(e) Defendant Mattinqlv’s Sixth and Final Attack -
M¢Mc_>z_o_ne_|_ot

47. l\/lr. Sti||wagon determined at that moment that the best thing to do was to get
off the public roads entirely, and try to find cover for the motorcycle and himself where the
other driver would be unable to keep using his truck as a weapon. He-saw an entrance to
a parking lot ahead on the |eft. He began moving to the left on William Street, approached

the entrance to the lot, and turned in.

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48. Defendant l\/lattingly, who was still stopped in the street, saw Mr. Sti||wagon
coming up behind him. He saw l\/lr. Sti||wagon move into the center lane on an angle
toward the lot, looking to the left. Just as the motorcycle was heading toward the parking
lot entrance, Mattingly accelerated his truck, turned sharply to the left across William
Street, and cut in front of the motorcycle, into the parking lot.

49. l\/lr. Sti||wagon had initially looked for parked cars. His thought was to put his
motorcycle between two vehicles parked in the lot. However, the parked cars were some
distance away, up near the buildings at the opposite end of the lot. The truck was looping
around, l\/lr. Sti||wagon could hear the engine, and P|aintiff was not sure he could make it
safely to the area of parked cars. There was a circular concrete light pole stand about 2
feet high near the entrance to the lot, so l\/lr. Sti||wagon pulled his motorcycle next to this
for protection. The P|aintiff took out his firearm and held it visibly in his hand

50. Defendant l\/lattingly had turned his truck and driven by the P|aintiff closely,
stopping briefly nearthe concrete structure. l\/lr. Sti||wagon had put down his kickstand and
turned offthe bike. When l\/lattingly drove past l\/lr. Sti||wagon on this first loop, the driver’s
side was facing the P|aintiff, at a distance of only a few feet away. l\/lr. Sti||wagon could
easily have shot him. l\/lr. Sti||wagon had no desire or intention to harm the driver, only to
disable the truck. l\/lr. Sti||wagon pointed his firearm downward, toward the rear of the
truck, fired two rounds, and shot out the left rear tire.

51. Defendant Mattingly drove on past the concrete pillar, past l\/lr. Sti||wagon,
and back toward William Street. His truck exited the parking lot, turned left, and began to
head east down the street. At that point Mattingly was free to leave, driving away from the

man on the motorcycle l\/lr. Sti||wagon remained stationary, and made no effort to follow

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the truck. lf Mattingly had wished to do so, he could have simply kept on driving and left
the area. He did not do so. lnstead, he attempted one last attack on the P|aintiff.

52. Defendant Mattingly quickly circled back around and re-entered the parking
lot. He drove to a position where his truck was aimed straight at l\/lr. Sti||wagon, and where
there was nothing between them. Then l\/lattingly revved his engine loudly, pushed the
acceleratorto the floor and, with his tires squealing, sped across the lot directly toward the
P|aintiff,

53. Whenthetruck gotdangerously close, l\/lr. Sti||wagon fired once. He certainly
could have shot Defendant l\/lattingly at this time. The Defendant was clearly visible,
directly in front of him, and at close range, but the P|aintiff had neither the desire nor the
intention to harm the truck driver. His purpose in firing was only to disable the vehicle, and
deter the madman who was driving it. l\/lr. Sti||wagon aimed specifically for the lowest
portion of the truck engine, as far from the driver as possible, and fired one round When
the truck was shot it swerved to the left and came to a stop about ten feet from the
motorcycle, and directly in front of lVlr. Sti||wagon.

54. Defendant l\/lattingly kicked open the driver’s door of the truck in an
aggressive manner. l\/lr. Sti||wagon approached the truck on the passenger side, with the
firearm still in his hand He glanced into the truck through the passenger window, and then
' ‘ly came out of the truck and stood
by the open driver’s door.

55. Contrary to the later false accusations of the Delaware Police Department,
|\/lr. Sti||wagon did not stop at the back of the pickup, point his pistol at l\/lattingly, fire across
the truck bed and shoot the Defendant in cold blood, causing him to fall to the ground

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Rather, Mr. Sti||wagon came around the rear of the truck without stopping or firing. He
walked right up to Defendant l\/lattingly. He could not see Mattingly’s right hand

56. When l\/lattingly began to turn, l\/lr. Sti||wagon kicked him once, forcefully, in
the left leg. This caused Mattingly to bend over, The P|aintiff then struck him once on the
back of the head with the gun, and pushed Mattingly down to the ground lVlr. Sti||wagon
thus used the minimum amount of force necessary to protect himse|f, and not one bit
more.

57. As l\/lr. Sti||wagon was pressing l\/lattingly downward with the firearm still in
his hand he unintentionally squeezed the trigger and the weapon discharged The shot
fired up into the air and away from l\/lattingly, never touching him at all. Defendant
Mattingly suffered only a minor flesh wound to the rear of his head a small cut, caused
by being struck with the gun.

58. Defendant Mattingly began to stand up again. l\/lr. Sti||wagon told him to stay
on the ground, and he did. The P|aintiff yelled to bystanders in the area to “call the police."
Then he set the firearm down on a nearby planter, where it would be visible, and waited
for police to arrive. As the police arrived on scene, l\/lr. Sti||wagon was happy to see them.
When the first cruiser pulled into the lot lVlr. Sti||wagon waved for them to come over to his
location. Officers got out and approached and the P|aintiff immediately acknowledged that
he was the one who had fired the weapon. He explained that the man on the ground had
just “tried to kill me about six times”l and that Defendant Mattingly had not been shot, only
the truck.

59. Each of the six attacks by l\/lr. l\/lattingly against Jim Sti||wagon, as described
above, constituted a separate “felonious assault” offense in violation of Section

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2903.11(A)(2) of the Ohio Revised Code. That statute makes it a felony of the second
degree for any person to “knowingly attempt to cause serious physical harm to another by
means of a deadly weapon.” Ohio law is specific and long-standing that a motor vehicle
can be a deadly weapon underthis statute ln addition, Defendant Mattingly was guilty of
drunk driving from the moment he got behind the wheel of his truck until he got out of it;
he had engaged in menacing threats against the P|aintiff with a baseball bat; he had been
drinking while driving the truck; and he had intentionally endangered the lives of numerous
other motorists and their passengers by operating his truck left of center in a lane of
oncoming traffic,

60. On the other hand l\/lr. Sti||wagon had committed no crimes of any kind
Rather, he had been the victim of a series of unprovoked violent attacks by a big truck
against a smaller motorcycle, some of which very nearly cost him his life (attached as
Exhibit 3 is a document from l\/lr. Sti||wagon’s criminal trial demonstrating the respective
vehicles involved). l\/lr. Sti||wagon had never engaged in any dangerous or provocative
driving toward Defendant l\/lattingly. He had never engaged in any “road rage" activity at
a|l. He had not shot l\/lattingly, he had not tried to shoot l\/lattingly, and even the physical
force he used to subdue Mattingly was minimal.

61. l\/lr. Sti||wagon had taken no steps of any kind to continue contact with the
silver truck. He had not chased followed or pursued the truck. He had never driven at a
high rate of speed to find or catch up to the truck. On the contrary, l\/lr. Sti||wagon had
done everything he could to disengage from the threatening truck driver, ln every instance
it was Defendant l\/lattingly, not the P|aintiff, who took steps to renew contact between the

vehicles after they had separated l\/lattingly raced to catch up to the motorcycle on the

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Route 33 Bridge, and did so again just before Watkins/l\/loore Road Mattingly waited in
hiding for the motorcycle at Section Line Road he cut across traffic to join the motorcycle
on the William Street exit ramp, and he turned around and re-entered the Autozone parking '
lot for the sole purpose of going after l\/lr. Sti||wagon once again. At all times Defendant
Mattingly was the intoxicated pursuer and aggressor. At all times, l\/lr. Sti||wagon was the
sober, law-abiding victim attempting to avoid his pursuerwhen possible and protect himself
from harm when necessary
FACTS REGARD|NG THE FALSE ARREST
AND MAL|C|OUS PROSECUT|ON OF MR. ST|LLWAGON
BY THE DELAWARE POL|CE

62. Afterthe incident, l\/lr. Sti||wagon certainly did not act like someone who had
done something wrong. He himself requested people nearby to call the police and medics.
He did not try to leave the scene He did not try to conceal himse|f. He immediately
advised the first officers on the scene that he was the person who fired at the truck. He
showed them where he had set down his firearm.

63. The responding officers drew their guns and pointed them at l\/lr. Sti||wagon.
They began screaming at him. They had him get on the ground, remove his jacket, lay on
his stomach and similar orders. As the cruiser videos confirm, l\/lr. Sti||wagon was
completely respectful and cooperative He did everything that he was instructed to do. He
was handcuffed led to a cruiser and locked in the back seat. The cuffing and confinement
was quite painful for the P|aintiff, because he has prior wrist surgeries, two artificial knees
and an artificial shoulder. ln spite ofthis, l\/lr. Sti||wagon was fully compliant and courteous.

He never resisted or complained or became belligerent with officers at any time He told

the officers “l’l| do anything that you want.”

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64. Although he had committed no crimesl Mr. Sti||wagon understood that the
Delaware Police detaining and questioning him were reasonable and necessary steps
under the circumstances. None of the claims alleged herein are based upon this initial
detention of the P|aintiff. lt was at this point that the Delaware Police began to obtain
information from l\/lr. Sti||wagon.

(a) information from Mr. Sti||wagon - The
interview in the Cruiser

65. Within a few minutes of the event itself, while sitting in the cruiser, i\/lr.
Sti||wagon described for the Delaware Police the details of what had happened He told
the truth, giving the facts exactly as they are listed above He told about the near collision
during the Route 33 Bridge cutoff, where the truck rode “over that bridge and he missed
me by about five inches going about 70 miles an hour." i\/lr. Sti||wagon described
Mattingly’s parking in the road and threatening him with the baseball bat. He told them
about Mattingly’s attack near Watkins/i\/loore Road and about him parking his bike for
several minutes there: “So all of a sudden he comes flying by me again. . . right at that
intersection he about killed me He slams his brakes on hard and left skid marks in the
road . . l stopped and got off the road and two cars came off with me and said he’s trying
to kill you, sir.” The P|aintiff described how Mattingly ambushed him later at Section Line
Road “He came back after he was gone, all of a sudden he’s behind me. He tries to cut
me off the road again."

66. While in the cruiser, l\/lr. Sti||wagon also told the Delaware Police what
happened in the Autozone parking lot. First, the P|aintiff was explicit that this was not road

rage The P|aintiff only fired his weapon in self-defense, when Mattingly was trying to hit

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him with his truck; “lt’s not road rage He tried to kill me."; “he went right around and l
heard his engine revving. . . He was coming for me." Second, the P|aintiff emphasized that
he fired only at the truck, not the driver: “So then l shot the side of his truck, or something."
Third the P|aintiff told them he did not shoot l\/lattingly, he just kicked and struck him:
“Shoot him? No. l hit him”; “l kicked him in the leg. .. When l hit him the gunjust went off.
. . he got hit by the gun, not the bullet”; “l kicked him in the leg and | hit him in the head with
the gun. l didn’t shoot him.”

67. The cruiser recordings reveal that even the uniformed Delaware Police on
the scene concurred with l\/lr. Sti||wagon’s statements based upon their own observations
One officer was recorded stating “hejust looks like he wasn’t shot,” referring to Mattingly.
Another officer commented that “with the way the shots are, it’s almost like he was just
trying to scare him.” Defendants Gerke, Radabaugh and Wi|lauer were present at the
Autozone lot; Defendant Segaard was not.

(b) information from Mr. Sti||waqon - The interview
at the Delaware Police Station

68. Jim Sti||wagon was transported from the Autozone lot to the Delaware Police
Department, He was held in handcuffs and leg-irons for several hours. He was then taken
into an interview room for questioning by Defendants Gerke and Segaard in handcuffs and
leg irons attached to a leather belt. This interview was recorded on video, and was later
played in its entirety during the P|aintiff’s criminal trial. The P|aintiff agreed to give this
statement without speaking to a lawyer, or having one present.

69. Once again, l\/lr. Sti||wagon explained truthfully and specifically the frightening

experience he had just been through. This interview was completely consistent with the

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statement he had given earlier, in the police cruiser. He described the first time Mattingly
nearly hit him, on the Route 33 bridge: “right when l got over 33" this truck “just flew by.
He missed my motorcycle by that much,” then “he waited for me up the road Stopped in
the middle of the road.” He described l\/lattingly’s second attack at Watkins/l\/loore Road
and the stop he made thereafter: “just missed clipping the front of my bike at 70 miles an
hour”, “l could feel the wind off of it,” “he jammed his brakes on,” “i pulled offthe side ofthe
road the second time he did it”, “a lady pulled up. . .and this guy helped me,” “l thought he
was long gone when l talked to these people.”

70. i\/lr. Sti||wagon said that he had tried to wait until the truck was gone, but
Mattingly had driven up to the Section Line Road intersection and waited for the Plaintiff:
“He must have hid at that gas station waiting for me to go by again”, “all of a sudden here
comes this pickup truck going about 80 miles an hour, passing seven cars", “he had his
lights on”, “and he comes up right behind me . . this close, and l said this guy is going to

ll ll

kill me, and he was smiling at me."

71 . l\/lr. Sti||wagon told the detectives about Mattingly waiting for him atthe Route
23/Route 42 split, and rushing his truck across traffic to confront the P|aintiff once more on
the exit ramp at William Street. He described how Mattingly was driving on Rt. 23, “He had
like 10 or 20 cars backed up . . . going like 10 miles an hour down the road . . in the
passing lane , ali ofa sudden hejust rips on a‘id goes down t"iat exit.” i-ie told them when
he stopped his motorcycle further back on the ramp he saw the truck start “coming
backwards on me and going to run me right over.” He explained that he only fired his
weapon to protect himself, and that he had intentionally aimed for the truck bed not at the

driver: “l just shot right down the middle, l wasn’t trying to shoot [i\/lattingly]”, “l shot two

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shots into his carto say. . . just go your way , you can see the pattern, l put a tight pattern
right there, if l wanted to kill [him] l would have shot him", “l was in fear for my life".

72. Finally, l\/lr. Sti||wagon described how he tried to escape Defendant Mattingly
by seeking shelter in the Autozone lot. He talked about Mattingly’s final attack in that lot,
and how he shot the truck in order to protect himself He told them about turning onto
William Street from the exit ramp and seeing the silver truck stopped in the street ahead
He explained that this looked like another ambush to him. He rode into the lot to find
cover, and l\/lattingly reacted by accelerating into the lot at the same moment. He told them
about trying to use the concrete pillar as protection.

73. Specificaliy concerning his use of the firearm, iVir. Sti||wagon told the
detectives that the truck made two consecutive loops through the lot, On the first pass
Mattingly drove within a few feet of the P|aintiff and l\/lr. Sti||wagon fired twice into the rear
tire area: “l shot his tire . . . when he went right by me . . l wanted him to not be on the
road anymore and l shot and f|attened his tire." Detective Gerke asked this question, and
|\/lr. Sti||wagon gave this answer: “Q. Shooting at the truck? A. Yeah. l wasn’t going to shoot
him.” During this interview Defendant Gerke acknowledged receiving a text from the
officers at the scene, confirming exactly what l\/lr. Sti||wagon had said One bullet
punctured the rear driver’s side tire, a second one entered the rear driver’s side panel a
few inches behind that tire. (See Exhibit 4)

74. l\/lr. Sti||wagon described the truck’s second loop toward him. After the
P|aintiff had shot out the rear tire, i\/lattingly drove out of the parking lot heading east on
William Street. Rather than leaving the area, however, Mattingly circled back into the lot,
aimed at the P|aintiff and accelerated: “He was coming right for me. . . l shot again right

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into his engine," “l felt l - - he was trying to take my life, you know, and | was protecting
myself.” When asked again by the detective, “your intentions weren’t to shoot him?” lVlr.
Sti||wagon answered “No.” Once again, the detectives were able to confirm the
truthfulness of this statement There was one bullet hole into the front of the truck,
beneath and to the left of the license plate, below the engine (See Exhibits 5, 6 and 7).
As l\/lr. Sti||wagon pointed out to the detectives and as the Exhibits demonstrate, the
P|aintiff could easily have aimed higher and shot the driver if he had chosen to do so.

75. After this second loop, l\/lattingly brought his truck to a stop adjacent to |Vlr.
Sti||wagon and his motorcycle, and got out of the vehicle in this interview, just as he had
in the cruiser, l\/lr. Sti||wagon explained in step-by-step detail exactly what happened next:
“l ran around the car", “he had his hand down like that and l had the gun”, “ljust kicked him
right in the |eg”, “and l saw his hand go like that and that’s when l hit him in the back of the
head with the gun.” l\/lr. Sti||wagon explained that as he was pushing Mattingly down with
the handle of the gun “my finger must have been on the trigger” and a round went off. As
he had at the scene, the P|aintiff reiterated that he believed the bullet fired into the air and
Mattingly had not been shot at all. He told them that Mattingly was alert and conscious and
even started to stand up again before l\/lr. Sti||wagon told him to stay down.

76. The detectives asked explicitly whetherthe P|aintiff had intentionally shot, or
attempted to shoot, at Mattingly l\/lr. Stillwagon Was equally explicit that he did not, even
though he certainly had the opportunity to do so numerous times: “Q. All right. So you
didn’t walk up to him and shoot him in the head? A. No. . As this interrogation at the

Delaware Police Department came to a close, Defendant Gerke said to l\/lr. Sti||wagon “i’m

just going to tell you l appreciate you being honest about it.”

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77. At this point, just hours afterthe incident had ended Mr. Sti||wagon had now
given two detailed statements to the Delaware Police about what had happened that day.
Both statements were given without consulting an attorney, and without the P|aintiff taking
time for reflection, to gather his thoughts orto rehearse or create a story. Both statements
were given on the record l\/loreover, l\/lr_ Sti||wagon had set out the facts and details the
same way each time These things suggested truthfulness and credibility.

78. in addition, l\/lr. Sti||wagon had articulated to the defendants a story which,
if it were true, rendered his actions entirely lawful. lf it had happened as the P|aintiff had
twice described it to the police, then l\/lr. Sti||wagon was a victim ratherthan a lawbreaker,
and his use of his firearm had been entirelyjustified. The P|aintiff had denied any road
rage, retaliatory conduct or other improper action on Route 42, telling the defendants “i
didn’t do nothing to him.” Furthermore, he had shot at the truck, not at the man, and those
shots were taken only to defend himself from peril. if the P|aintiff’s statements were true,
then there was no basis to charge him with any crime

79. The Delaware Police already knew two other important facts First, they
knew that Defendant i\/lattingly had been under the influence of alcohol that day. lVir.
Sti||wagon had told them bluntly “he was drunk." The officers who were near l\/lattingly in
the Autozone lot reported that he had a strong odor of alcohol about his person. And
police recovered several beers and an open container from the truck. Second, the
Delaware Police knew the respective criminal histories of these two men. They had
immediately done a record search on both parties They knew that l\/lr. Sti||wagon had no
record They knew that i\/lattingly had a very serious criminal background including a long
prison term for homicide, and that he was presently on parole

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80. The Delaware Police had not yet interviewed lVlr. Mattingly at all. He had
been taken away immediately for a medical exam and treatment. The detectives had not
even seen him, or seen his injury, or heard what he had to say about the facts They had
not done any investigation, had not interviewed the witnesses or searched for additional
evidence Having completed their interview with l\/ir. Sti||wagon, they prepared to drive to
the hospital and see the driver of the truck. Even before leaving, however, they revealed
to l\/lr. Sti||wagon that they had already made up their mind about the case. They were
placing l\/lr. Sti||wagon under arrest, they had decided to prosecute him for crimes against
l\/iattingly, and he was going to be taken straight to the countyjail.

(c) The Delaware Police Adapted A
False Description of the Facts

81. The Delaware Police Department, and the defendants specifically, adapted
a narrative of the events that day which was quite different from the truth. The story
created by the Delaware Police altered specific facts in order to remove culpability from
Defendant l\/lattingly, and place it on the P|aintiff. The Delaware Police Department version
of the story was not based upon the evidence lt was motivated by an anxious desire to
prosecute Jim Sti||wagon.

82. Underthe scenario created that day by the Delaware Police Department, Mr.
Sti||wagon was not the victim of several separate assaults by Defendant Mattingly and his
truck. Rather, the events on Route 42 had been a “mutual road rage” situation, in which
l\/lr. Sti||wagon had threatened the truck driver by following close behind cutting in front of
the truck and “brake checking”, and other aggressive driving toward the truck. in the police

version, l\/lr. Sti||wagon had not sought to get away from the truck and end the contact.

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Rather, he had purposely maintained contact with the truck, pursuing it in a continuous
pattern of road rage for more than ten miles before entering Delaware.

83. According to the police, the incident continued into Delaware because of i\/lr.
Sti||wagon and his aggressive actions ratherthan those of l\/lattingly. Mattingly undeniably
was driving on Route 23 in the left lane, at a snail’s pace, and swerved sharply onto the
exit ramp in front of l\/lr. Sti||wagon, but the police attributed this to Mattingly having
mechanical trouble with his truck, rather than an effort by l\/lattingly to continue harassing
the motorcyclist. Under the police version, l\/lr. Sti||wagon pulled up directly behind
Mattingly’s truck at the bottom of the ramp, pulled out his firearm and without any
provocation, fired multiple times attempting to shoot l\/latting|y. They claimed l\/lr.
Sti||wagon did this because he was angry.

84. The Delaware Police theory went on to suggest that, rather than Mattingly
waiting forthe P|aintiff on William Street, and then charging into the Autozone lot when he
saw that lVlr. Sti||wagon was going that way, it was the opposite Mattingly had driven into
the lot to flee the P|aintiffl because he was fearful of the Plaintiff. i\/lr. Sti||wagon had not
entered the lot in order to find protection from the truck, but rather he was pursuing
l\/latting|y in order to shoot him. in other words the police claimed Sti||wagon was the
aggressor.

85. As the truck was circling around in the lot, the police claimed that the three
rounds fired by l\/lr. Sti||wagon were not defensive shots intended to protect the P|aintiff,
repel the attacker, or disable the truck. instead according to the theory adapted by
Delaware Police, these shots were unprovoked unsuccessful efforts by l\/lr. Sti||wagon to
shoot Defendant l\/lattingly.

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86. The Delaware Police narrative posited that l\/lr. Stillwagon had not walked up
to Mattingly after the truck stopped They had not stood face-to-face by the driver’s door
of the truck. The P|aintiff had not kicked Mattingly and struck him on the back of the head
with the gun, causing l\/lattingly to fall to the ground The gun had not accidentiy
discharged into the air. instead the police version was that Stillwagon had stopped his
approach when he was still some distance away from l\/lattingly, Still behind the back of the
truck. The P|aintiff had then aimed the gun directly at i\/lattingly and fired in cold blood
shooting the defendant in the head and causing him to drop to the ground

87. This then, was the scenario that the Delaware Police decided was their
theory of the case Jim Stillwagon had become infuriated with road rage, had pursued the
otherdriverfor many miles until they reached Delaware, and had intentionally shot the man
in the head from a distance The Delaware Police Department released this story to the
media only hours afterthe event had occurred The Delaware Police Defendants adopted
this story as the basis for arresting and charging l\/lr. Stillwagon that same evening. But the
allegations were entirely false

(d) The Evidence Directlv Contradicted the
Alleqations of the Delaware Police

88. ln addition to l\/ir. Sti||wagon’s statements there was other evidence known
to the defendants which oven/vhelmingly confirmed the P|aintiff’s description of the events,
and proved his innocence of all crimes l\/luch of this evidence was physical or forensic,
and much of it was in the form of personal eyewitness testimony. Taken as a whole this
exculpatory evidence could not logically be ignored The following are numerous examples

of such evidence

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Q) Events on Route 42

89. Regarding each of Defendant l\/latting|y’s successive efforts to strike Mr.
Stillwagon with his truck, independent evidence immediately surfaced which supported lVlr.
Sti||wagon’s statement At the same time, this evidence entirely contradicted the Delaware
Police theory that the P|aintiff had himself engaged in road rage behavior.

90. Concerning the first incident, at the Route 33 bridge, when l\/lr. Mattingly was
interviewed he claimed that the motorcyclist had come up on his truck from the rear at a
high rate of speed The bike had pulled up next to him on the left and l\/lr. Stillwagon made
obscene gestures at him. i\/lattingly denied that he had nearly run over the P|aintiff, then
brake checked him, then stopped in the road and threatened the P|aintiff with a baseball
bat. The video obtained from the l\/larathon station, however, verified that the motorcycle
had been in front of the truck, not behind it. And police did find a blue metal baseball bat
in the cab of Mattingly’s truck. The evidence all supported l\/lr. Sti||wagon.

91. Concerning l\/lattingly’s second assault, at Watkins/i\/loore Road a critical,
eyewitness voluntarily came fon/vard to the Delaware Police on the very next day after the
events This woman confirmed that the truck came speeding up behind her, passing
northbound vehicles in the left lane, causing oncoming vehicles to swerve off the road to
avoid a collision. The truck passed her, accelerated at a high rate of speed to overtake a
motorcycle that was up ahead and she saw the truck “swoop in front of the motorcycle”
and slam on its brakes nearly causing the motorcyclist to wreck. She told the Delaware
Police that lVlr. Stillwagon pulled his motorcycle offthe road and the truck took off, running
a red light, She also confirmed the P|aintiff’s statement that he waited several minutes

there at the roadside, that she and a male witness also stopped to help the P|aintiff, and

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that the police were called but said they could do nothing except take a report. This
independent witness told police that l\/lr. Stillwagon waited long enough that she believed
the truck to be many miles away, that l\/ir. Stillwagon was “not enraged” when he got back
on the road and that he drove away at a normal rate of speed The information from this
witness a farmer named l\/ls. Reninger, was highly exculpatory. She confirmed that this
was assaultive action by the truck rather than mutual road rage. She confirmed that l\/lr.
Stillwagon had in fact, stopped and waited several minutes while the truck was presumably
continuing away, thus putting distance between the vehicles

92. The next series of assaults by Defendant Mattingly occurred several miles
north on 42, after the P|aintiff passed Section Line Road l\/lr. Stillwagon reported that
Mattingly had hidden at this intersection, and come after him again when he rode by. An
ambush by l\/lattingly was not a part of the Delaware Police Department narrative
Nevertheless, three independent eyewitnesses came fon/vard to verify l\/lr. Sti||wagon’s
statement that this had occurred One of those witnesses was l\/ls. Reninger. She had
pulled away from the gravel lot at Watkins/l\/ioore Road just behind l\/lr. Sti||wagon, who
was 30-60 seconds ahead of her. When they got to Section Line Road the P|aintiff had
gone straight ahead on Route 42, and l\/ls. Reninger was turning left. Just as she was
making her turn she saw the silver truck pull back onto Route 42 from somewhere off the

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road and turn north in a direction f“liowi“rg lvir. otill

wagon’s motorcycle in short, she
actually saw the ambush commence, and she told the Delaware Police about that,

93. Another witness named l\/ls. Sayre also called the Delaware Police She had
seen Defendant Mattingly on the news, giving a statement that blamed l\/lr. Stillwagon and
she said she called because “he’s not telling the truth.” She had witnessed the attacks

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near Section Line Road She said the truck passed her at a high rate of speed and he
“came after the motorcycle And he was bound and determined he was going to get in
front of the motorcycle and that’s how he almost caused an accident” with vehicles “coming
the opposite direction.” She saw the truck cut in front of the motorcycle, immediately slam
on his brakes and the motorcycle “went off the side of the road”, with gravel and dirt flying
in the air.

94. A third independent eyewitness to Mattingly’s attempts to wreck the
motorcycle near Section Line Road was a l\/lr. Cogan. This gentleman and his 13-year-old
son were nearly victims themselves l\/lr. Cogan contacted the Delaware Police by email
less than 48 hours after the event. l\/lr. Cogan was driving southbound on Route 42. He
passed a motorcycle going the opposite direction. Shortly thereafter, he looked ahead and
saw a silver pickup truck, headlights on, coming directly at him as it passed seven or more
vehicles The pickup truck made no effort to return to its lane, never slowed down, and
continued to drive straight towards l\/lr. Cogan, forcing him to slam on his brakes and drive
off the road to avoid a head-on collision, l\/lr. Cogan estimated the truck passed him at 85
m.p.h.

95. The statements of these three witnesses taken together verified exactly what
l\/lr. Stillwagon had told the Delaware Police about the events at Section Line Road.
A|though the P|aintiff had given l\/lattingly lots oftime to drive on down the road to wherever
he was going, l\/lattingly had stopped concealed his truck from view, waited until the
motorcycle went by, chased it at a high rate of speed endangering other innocent
motorists and then intentionally driven his truck at the motorcycle in such a way as to
injure the rider. This was not mutual road rage, it was an ambush followed by an assault.

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None of the witnesses who came fon/vard described l\/lr. Stillwagon as having engaged in
any type of road rage driving behavior whatsoever.
L2) Events in the City of Delaware

96. The next incident i\/lr. Stillwagon had described to the Delaware Police was
at the William Street exit ramp. Notably, the police would not even have been aware of
shots fired at this location if l\/lr. Stillwagon had not volunteered the information within five
minutes of them arriving in this way the police were able to locate bullet casings and
photograph the area immediately

97. The Delaware Police theory on this portion of the story was that l\/|r.
Stillwagon had “caught up with l\/lattingly on the exit ramp, intentionally.” The P|aintiff
claimed the opposite, that he got in the exit lane before l\/lattingly, who was ahead of him
driving very slowly in the left lane of Route 23. P|aintiff stated that when i\/lattingiy saw him
getting off at William Street, the defendant swerved his truck across two lanes and cut onto
the exit ramp in front of the motorcycle The underlying issue, of course, was who was
following whom? There were no eyewitnesses but when the Delaware Police did speak
to l\/lattingly he made important admissions He admitted that he was driving as slow as
20 miles per hour on Route 23 as he passed the William Street exit, before turning down
the ramp in front of i\/lr. Sti||wagon. l\/lattingly denied that this was because he was waiting
to see whic. way the motorcycle went He attributed this unusual driving pattern to
mechanical failures with his truck. However, no mechanical problems were ever found on
the truck, the Delaware Police Defendants themselves admitted that they did not believe
this story, and it was later stipulated in the criminal case that no such mechanical problems

with the truck existed The evidence thus supported l\/lr. Sti||wagon.

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98. What happened when the vehicles were on the exit ramp was also disputed
The Delaware Police theorized that l\/lr. l\/lattingly did not activate his reverse lights or begin
backing his truck toward l\/lr. Sti||wagon. Rather, they speculated i\/lr. Stillwagon followed
the truck to the bottom of the ramp, pulled out his gun and fired it in an attempt to cause
physical harm to the driver i\/lr. l\/lattingly. Three important bits of exculpatory evidence
contradicted this theory. First, l\/lr. Stillwagon had stopped his bike a sizeable distance
back from the truck and the intersection, and the shots were fired from that location further
up the ramp, as evidenced by the fact that this was where the shell casings were all found
(See Exhibits 2 and 8). Second, the bullet holes were in a tight pattern located in the rear
of the truck bed by the tailgate latch, down and to the right of the location where the driver
would have been visibly seated in the cab. No shots had been fired into the truck cab.
Third when the Delaware Police did speak to i\/lattingly he conceded that he “may have"
put his reverse lights on while on the exit ramp.

99. Concerning the events in the Autozone parking lot, the version adapted by
the Delaware Police was that l\/latting|y was a terrified victim. l\/lr. Stillwagon was intent on
shooting Mattingly because he was enraged. l\/lr. Stillwagon fired at lVlattingly three times
in the parking lot while l\/lattingly was still in the truckl but he missed each time When
Mattingly stopped and got out of the truck, l\/ir. Stillwagon stood at a distance, pointed the
gun directly at his victim and shot him in the head The police theory was dramatic, but it
was contradicted by every bit of physical and forensic evidence, as well as eyewitness
testimony. The evidence was oven/vhelmingly exculpatory, it was known to the Delaware

Police, and it fully supported every detail of l\/lr. Sti||wagon’s statement of the events

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100. When he entered the lot, l\/ir. Stillwagon parked his bike as close as possible
to the concrete pillar; put down the kickstand and remained stationary at or nearthe bike
while Mattingly’s truck made its various movements in and around the lot. As Mattingly
brought his truck to a position close by, the driver’s side was closest to P|aintiff. l\/lr.
Stillwagon said that he made no effort to shoot at the driver, who was right in front of him,
only a few feet away. Rather, he aimed for the rear tire in order to disable the truck. The
physical evidence all confirmed this The shell casings were found immediately adjacent
to the area where the motorcycle was parked The two bullets entered (1) the right rear
tire, puncturing it, and (2) the side of the truck, about two inches behind the tire. (See
Exhibit 4). Those forensic facts the location of the casings and the location and close
pattern ofthe two bullet holes were consistentwith l\/lr. Sti||wagon’s statement, and directly
contradictory to the theory that he was firing up at the driver in the truck cab.

101. The Autozone parking lot was also shared by an Eagles Club located next
to the store. The Eagles Club had a security camera which was directed at the parking lot
area. This camera was operating on the afternoon of September 30, 2012. lt recorded the
incident herein, including the movements of Defendant l\/lattingly’s truck. The Delaware
Police had obtained a copy of this “Eagles video" on the same evening of the incident.
This video provided highly probative documentation that Defendant Mattingly was the
aggressor in this ma r, as it captured i“i full Def‘noant iviattingiy’s final attack on iVir.
Sti||wagon.

102. The Eagles video showed that, afterthe P|aintiff shot the truck tire, he simply
stopped firing and stood still. The truck pulled out onto William Street heading east. Mr.
Sti||wagon made no movement to pursue The truck suddenly turned back into the lot,

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circled around to where it had a clear angle toward the P|aintiff, and accelerated directly
at l\/lr. Sti||wagon. When the truck was nearly to the P|aintiff, l\/lr. Stillwagon fired one, and
only one, shot. lt was fired from a position where the P|aintiff had a clear view of Mattingly
up in the driver’s seat, getting closer and closer. lt was fired downward at the bottom of
the engine, actually striking the lowest point on the front bumper.

103. The Eagles video, the location ofthe casing next to the motorcycle, and most
critically the location of the bullet hole (See Exhibits 5, 6 and 7), were all evidence so
exculpatory as to render the theory that the P|aintiff was attempting to shoot the driver a
near impossibility lt certainly was highly uniikely. The Delaware Police narrative regarding
the incident wilfully disregarded all of this exculpatory evidence

104. The final contested issue was how Defendant Mattingly went to the ground
lf l\/lr. Stillwagon stopped aimed and fired from behind the truck, and if i\/lr. Mattingly had
actually suffered a gunshot wound these facts taken together would support the Delaware
Police accusation that the P|aintiff had “knowingly caused serious physical harm to Richard
Mattingly” by intentionally shooting him. On the other hand l\/lr. Stillwagon was firm in his
statement that this never happened He said he had walked up to i\/lattingly, kicked him,
struck him in the head and pushed him to the ground physically. The gun had discharged
into the air and the bullet never struck l\/lattingly at all. A review of all physical and forensic
evidence proved beyond dispute that l\/lr. Stillwagon was telling the truth.

105. There was one bit of physical evidence which was, by itself, essentially
determinative of the question. When police arrived at the scene and recovered lVlr.
Sti||wagon’s firearm, a .45 caliber Glock semi-automatic handgun, they found that there

was an empty shell casing still in the chamber. This mean/t that when the last bullet fired

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the weapon had not done what it normally did automatically, slide open and eject the
empty casing from the chamber. The only reasonable explanation for this was that the
slide mechanism was in contact with something when the gun fired. Even modest exterior
pressure against the slide would restrict it from opening, and the casing would not be
ejected lfthe gun were held out, aimed and fired from a distance, as the police claimed
the casing would have been ejected if the gun were being pressed against l\/lr. Mattingly’s
head at the time it discharged then the slide would be restricted and the casing would
remain in the gun.

106. The only other conceivable explanation for the presence of this shell casing
in the weapon was some mechanical failure in the weapon itself. But the weapon had
been fired six times in the minutes before this last round was fired and it operated
perfectly. Every casing was ejected properly. The day after the incident, Defendant
Radabaugh took this same firearm to the Delaware County Firearms Range and test fired
it to make sure it worked He examined it closely and then fired it several times lt worked
perfectly, and the shell casing discharged after each round was fired There was no
mechanical malfunction.

107. The presence of the last shell casing within the firearm was entirely
consistent with l\/lr. Sti||wagon’s statement, and essentially impossible under the scenario
adapted and acted upon by the Delaware Police The defendants wilfully disregarded this
highly exculpatory evidence lt was never even mentioned by the defendants in their
official investigative Report or their Grand Jury Packet.

108. The second item of exculpatory evidence was l\/lr. l\/lattingly's head injury
itself. Defendant l\/lattingly simply did not suffer a gunshot wound A bullet wound to the

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head from a .45 caliber hollow point round even a so-called “grazing wound”, would have
carved out a wide, canal-shaped area where it passed through the body tissue l\/lr.
Mattingly sustained only a tiny, straight-line cut which was closed with two sutures. At the
hospital, the injury was described by the medical staff not as a gunshot wound but as “a
small laceration”. The discharge instructions stated “you have been seen today and
treated for a laceration (cut) to your scalp.” This cut was caused by the metal gun, most
likely the rear site, making forcible contact with the back of Defendant Mattingly’s head
The nature of the wound was powerful exculpatory evidence, inconsistent with the
allegations of the Delaware Police and fully consistent with l\/lr. Sti||wagon’s statements

109. The third relevant bit of evidence was the testimony of an eyewitness named
l\/lr. Poweli, who had been in the Autozone parking lot at the exact moment when i\/lattingly
got out of his truck and l\/lr. Stillwagon approached Witness Powell said it happened
exactly as Nlr. Stillwagon described l\/lr_ Powell had seen the P|aintiff fire his last shot at
the truck before it came to a stop. He said it looked like the motorcyclist “was shooting the
motor, trying to stop the truck." l\/lr. Powell was watching closely what happened next, after
the truck stopped

110. This witness said that he saw l\/lr. Stillwagon walk around the rear of the
truck, approach the driver who had come out of the truck, and they were “face-to-face at
that point.” He saw l\/lr. Stillwagon hit the other man on the head, with the weapon in his
hand and the gun went off. i\/lr. Powell said he saw the muzzle flash, and it was pointing
straight up when it discharged He saw the man from the truck fall. l\/lr. Powell told the
Delaware Police what he had witnessed when they came to the scene, and he gave them

his contact information. The investigating detectives never did a follow-up interview of this

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witness They did not include him in their list of grand jury witnesses They did not
mention anywhere in their investigation Reportthat this witness confirmed Mr. Sti||wagon’s
statement about what caused i\/lattingly to go to the ground The defendants simply buried
this witness suppressed his observations and disregarded this evidence of the P|aintiff’s
innocence

111. There was yet another significant bit of exculpatory evidence which the
Delaware Police learned the next day, when they wentto see Defendant l\/lattingly. He was
limping. He had soreness and swelling to his left leg, exactly where l\/lr. Stillwagon
indicated he had kicked l\/lattingly. When the detective asked him about it, Mattingly was
vague about how he got it: “l must have fell." Once again, another fact had come to the
attention of the Delaware Police Defendants which appeared to confirm i\/lr. Sti||wagon’s
description of the events. This particular exculpatory evidence was neither addressed nor
even mentioned in the investigation Report or the Grand Jury Packet.

112. Finally, there was the Eagles video. This video had no sound and the
camera was a long distance from the location of Defendant Mattingly’s truck. As originally
recorded the interaction between l\/lr. Stillwagon and l\/lattingly was too small to see.
However, immediately afterthey got the recording the Delaware Police began the process
of having it enlarged and enhanced The enhanced version was eventually produced to
tillwagon s legal team, a‘ld it was shown by the defense during Piaintifr"‘s criminal trial.
in the enhanced format the viewer can clearly see that l\/lr. Stillwagon did in fact, go on
around the truck, walk right up to l\/lattingly, engage in a kicking motion and downward arm
motion, and at that point the defendant went to the ground The Eagles video visually

confirmed l\/lr. Sti||wagon’s statement, and contradicted the Delaware Police allegations

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113. ln spite of this evidence, Defendants Segaard Gerke, Radabaugh and
Wi|lauer caused Mr. Stillwagon to be charged with four counts of felonious assault Each
count had an added firearm specification. These four charges were based upon the
P|aintiff’s use of his weapon on the William Street exit ramp (1st Count)l and his shooting
of the truck and alleged shooting of Defendant Mattingly in the Autozone lot (2"°’, 3rd and
4th Counts). in each of these charges the defendants alleged that l\/lr. Stillwagon
“knowingly attempted to cause” or “knowingly caused" serious physical harm to l\/iattingly.
There was no probable cause for any of these charges The evidence contradicted the
elements of each offense alleged and the evidence also strongly supported the affirmative
defense of self-defense Nevertheless, the defendants had decided to prosecute i\/lr.
Stillwagon and had crafted a narrative which would appeartojustify the prosecution. They
immediately began to bend the evidence to match their theory.

FACTS REGARD|NG THE DEFENDANTS’ MAN|PULAT|ON.
MANUFACTUR|NG, SUPPRESS|ON AND DESTRUCTION
OF EV|DENCE

114. Afterthey had arrested charged andjailed i\/lr. Sti||wagon, Defendants Gerke
and Segaard headed for the Ohio State University Hospital to meet Defendant l\/lattingly,
whom they had now dubbed as their “victim.” They called ahead to the hospital to let them
know that they were coming. They took along an alcohol testing kit which they intended
to use on l\/latting|y.

115. Defendant l\/lattingly had arrived at the hospital fully conscious oriented and
alert, speaking clear|y. He acknowledged at the hospital that he had never lost

consciousness not even briefly, at any time throughout the entire day. He had been

talking when police first arrived at the Autozone lot, and he had been fully awake and

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aware on his trip to the hospital. There was no reason why Mattingly would have suffered
any memory loss or selective amnesia.

116. in truth, l\/lattingly remembered exactly what had happened that day. He
knew that he had pursued and terrorized the guy on the motorcycle, he knew the man had
fired only at his truck, and he knew that he had been kicked and knocked to the ground
rather than shot. But i\/ir. Mattingly was on parole He faced returning to prison for the
remaining 12 years of a previous sentence if the truth about this incident with i\/lr.
Stillwagon came out. At the same time, he had heard some of the police at the scene
speculate that he had been shot. Being perceived as a gunshot victim might help him to
escape the consequences of his violent acts toward Mr. Sti||wagon. He did not know what
evidence the Delaware Police had so Mattingly decided to claim memory loss

117. Because of the insignificant nature of the injury, Mattingly was questioned
about its origin on multiple occasions while at the hospital. He repeatedly said he did not
remember how the cut had occurred The notes of one doctor state: “He . . .relates that
he was hit to his head . . He does not remember the entire event, and does not recount
if it was a GSW to his head or a blunt trauma. . . findings laceration over occiput, repaired
in trauma bay with two staples.” The emergency room records further state: “He does not

remember the entire incident He is unsure if he was shotl but he was hit on the back of

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The physical exam noted that ne iia a srnaii iaceration to the back of his
head." (See Exhibit 9) Thus, it was not the purported victim who was claiming Stillwagon
stopped at a distance, took aim, and shot him intentionally. That story was initially corning

only from the Delaware Police

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118. At some time after 6:00 p.m. the hospital staff told Defendant Mattingly that
the Delaware Police had called and were on their way to interview him. l\/iattingly’s
reaction to that information is summarized in the following notations from the hospital
charts: “Pt. got up and said he was going to leave . . Pt. ripped lV out and walked out.”
Mattingly fled the hospital without being discharged or receiving his papen/vork.

119. When the detectives arrived Defendant l\/lattingly was gone They did obtain
his telephone number. They called and left a message for him to contact them. When he
called back late that evening, he was at his home near Dayton. They asked to see him,
but Mattingly indicated that he really did not wish to speak to them or to do anything about
the incident. The detectives were insistent, and l\/lattingly reluctantly told them they could
come to his home the next day, but Defendant Segaard noted at the time that “it did not
appearthat he was particularly interested in participating in the investigation.” The fact that
Defendant Mattingly had run from the hospital, and the fact that he did not wish to
participate in the investigation, were remarkable This was not the way that a victim of a
shooting would normally act. These facts logically suggested guilty knowledge The
Delaware Police disregarded the implications of this conduct by their purported crime
victim.

(1) Manufacturinq Mattinqlv’s Testimony

120. The Delaware Police conducted two interviews of l\/lr. l\/lattingly, each one
lengthy, on October1 and October 2, 2012. From the very beginning it was obvious to the
detectives that Defendant l\/lattingly was a dishonest person, and that he was lying to them
about his interaction with Jim Sti||wagon. i\/lattingly told a wild and incredible story about

l\/lr. Stillwagon being infuriated at him for no known reason, and about his truck having a

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long list of alleged mechanical problems which made it slow down uncontrollably at times
speed up uncontrollably at other times and at other times it would stall, or the steering
would pull the truck sideways He denied that he ever pulled in front ofthe motorcycle and
braked. l\/lattingly claimed that he never engaged in any assaultive driving at all, and that
Stillwagon must have simply misinterpreted the aberrant movements of the truck as
intentional. l\/iattingly denied that he had consumed any alcohol that day. He denied ever
threatening l\/lr. Stillwagon with a baseball bat. He denied waiting in ambush for the
motorcycle He denied putting his truck in reverse on the exit ramp. He denied that he had
ever left the Autozone lot, and then returned and driven at l\/lr. Sti||wagon. He said that he
had stopped and gotten out of the truck merely to apologize As he had at the hospital,
Mattingly never said “l remember being shot” or similar words Rather, he said that l\/lr.
Stillwagon was coming at his truck “shooting into the passenger side” and yelling, and then
“that’s all l remember.”

121. Probable cause must be based upon “reasonably trustworthy information.”
The detectives knew immediately upon meeting and speaking with l\/lr. Mattingly that he
was certainly not a source of reasonably trustworthy information. They have since
admitted that they doubted his truthfulness They could not lawfully rely upon anything
l\/lattingly said as a basis for prosecuting l\/lr. Stillwagon because it would not meet the legal
requirement of trustworthiness vioreo'v'er, iviattingly’s compieteiy fabricated story to the
police, containing lie after lie about the subject ofthe police investigation, was itself criminal
conduct in violation of the statutes prohibiting “falsification”, “obstructing justice” and

“obstructing official business.”

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122. |n addition to his absence of credibility, a second thing about Mattingly
became clear to the detectives during these interviews Defendant Mattingly sincerely
believed that he was going to be arrested and charged for his actions toward the
motorcyclist. At one point he put his hands out in a handcuff position and told the
detectives “l’ll tell you everything You got to arrest me, you can arrest me." This conduct
logically suggested that Mattingly had committed crimes and he knew it. He admitted that
he had never intended to contact police about the incident: “l was so scared l was getting
arrested | wouldn’t have called.” Actually, the Delaware Police should have arrested
Mattingly but they were not interested in him. They had already decided to prosecute Jim
Sti||wagon, and obtaining a conviction of the P|aintiff was their only goal.

123. in order to convict lV|r. Stillwagon the police defendants first had to somehow
force Mattingly to cooperate They were eventually able to coerce i\/lr. Mattingly to “be a
cooperative victim", and say what they wanted him to say, by using a series of techniques
during these two meetings First and foremost was a promise of leniency in return for
testimony implicating i\/lr. Sti||wagon. Additionally, the police defendants suggested to
Mattingly that there might be some personal financial benefit to him if he helped to convict
lV|r. Sti||wagon. And when necessary, the detectives also used anger, threats and pressure
at times

124. The Delaware Police understood that Defendant Mattingly was their star
witness lf they were going to obtain the conviction of l\/lr. Stillwagon as they hoped they
needed l\/lattingly to testify to the scenario that they had adapted as the basis for their
charges They referred in these meetings with l\/|attingly to “the success of their case,"

which actually meant falsely convicting an innocent crime victim. They explained to

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Defendant i\/lattingiy that they were only after Jim Sti||wagonl that this case was very
important to them, and they needed l\/iattingly’s testimony to conform to their narrative or
they might lose the case Defendant Segaard told l\/lattingly, “this is an important case. .
. we’re trying to make a case saying, you know, l\/lr. Stillwagon shot l\/lr. Mattingly in cold
bloodjust because he was angry about something that happened" Segaard told i\/lattingly,
“we arrested him, and we're charging him, okay? We’re going to take it to trial, and
regardless of what may have led up to this conflict.”

125. Defendant Gerke explained it this way to l\/lattingly: “l am on your side
regardless because you are the victim in my case . . . we’re on your side . . . l am your
friend sir.” Defendant Gerke explained that “l cannot proceed with any type of prosecution
without having my victim, the man who got shot in the head . . l can’t proceed with
anything unless l have a cooperative victim.”

126. The detectives told Defendant l\/lattingly that it was critical for success that
he alter his testimony to be consistent with the police version. Only one day after the
incident occurred the Delaware Police were already concerned about how l\/lattingly would
come across at trial. Defendant Segaard told him this: “But it is going to go to court and
it’s going to be a big deal. The guy’s famous . . . So he’s going to a have a very good
attorney and we have to make sure that we have all our ducks in a row. . . that’s how the
defenses to these types of cases Work because ti iis guy’s attorney wants to make it look
like his client did this for a justifiable reason. . l know it might be hard for you to remember
but it’s important . . . if we want to prove to a jury that this guy shot you and had no - - had
no right to, his attorney is going to say, well Richard was trying to kill him with his truck and
that’s why my client shot at him . . . there was a pattern of aggression." Defendant Gerke

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was more blunt. if Mattingly didn’t cooperate with the police narrative, he said “this case
is going to fall apart.”

127. l\/lr. l\/iattingly was not initially persuaded and he persisted in his own self-
serving but unbelievable story. The detectives responded by offering him complete
amnesty, and promised l\/lattingly that he would not be held accountable for his truck
attacks on lVlr. Stillwagon or for any of his other misdeeds that day, if he would say what
they wanted him to say. When l\/lattingly asked if there was any chance he was going to
be arrested Detective Segaard said unconditionally “no”. Segaard elaborated “it does not
matter what you may have done lt will not change the way we prosecute this shooting
incident." Defendant Gerke was as clear as he could be on the point, promising Mattingly
that “no matter what is said here today, no matter what you state to us no matter where
this goes you will still be listed as the victim. We are not prosecuting you or coming after
you. Okay?” And Segaard added “We just don’t care about other crimes.”

128. in reality, as the P|aintiff and the witnesses confirmed the vehicular attacks
by Mattingly had come very close to causing l\/lr. Stillwagon and other innocent drivers
serious injury or death. The Delaware Police detectives however, trivialized these
felonious assaults by a drunk driver as mere traffic violations. They told Defendant
Mattingly that “even if you passed him and brake-checked him or whatever”, even if you
were “being a jackass driver” it is “okay if you were” Defendant Segaard stated that “l’m
a detective that investigates major crimes like this so l don’t care if you had an open
container and l don’t care if you were drinking in the truck,” and “We’re not traffic cops."
Defendant Gerke said “l’m not here to convict you on OV|. l’m not here to, you know, write
you a ticket.” Gerke tried repeatedly to assure l\/lattingly that if he cooperated he was safe:

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“what you did was traffic. l don’t do traffic”; “you’re not going to jail bro, l don’t write fucking
tickets.”

129. Defendant Mattingly expressed concern that, even if he wasn’t prosecuted
his parole might be revoked The Delaware Police detectives promised that theywould not
cooperate with the parol authorities or provide them any information. The following
conversation was only one of many to that effect:

i\/lattingly: l can get revoked on any of those things

M: l’m not calling. l don’t even know what parole office you’re out of. l’m

not looking into it. l’m not going to call your parole officer. . . l’m not mailing
anything, sending anything to your parole officer. You understand me?

l\/lattingly: Yeah.
Gerke: Bro, you have to understand me. l’m not turning this in to the parole

board l’m not turning this in to your parole officer. This is my report.

l\/latting|y: That’s fine.

130. One additional coercive influence employed by the Delaware Police
Defendants was financial. The detectives suggested to Mattingly that there might be a
money motivation for him to get on board with their effort to have l\/lr. Stillwagon convicted
of felonious assault On the more modest level, this involved direct payments of money
through the victims’ assistance program. Defendant Segaard took a victims’ assistance
representative to the first interview with l\/lattingly, and the detective assured Mattingly that
“we’re going to make sure that you’re done right by” financially. He offered to provide
money for travel to Delaware for an interview, money for l\/lattingly to come to the grand
jury, “we’ll buy you Wendy’s or something"l and even an offerto purchase Mattingly a new
hat

131 On a much larger scale, however, the detectives discussed the fact that

l\/lattingly was injured by a man who was wealthy. They brought this up with i\/lattingly over

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and over again, in explicit terms that had nothing to do with their investigation A few
examples are Defendant Segaard advising l\/lattingly “he’s like a millionaire", “he’s got
money”, “this guy has money” and his lawyers are getting paid “big bucks”; and Defendant
Gerke volunteering “this guy has a lot of money.” Defendant Mattingly clearly understood
this to mean that a conviction ofJim Sti||wagon could put money in his pocket. During the
pendency ofthe criminal charges Mattingly filed a civil suit against i\/lr. Sti||wagon, in which
he sought a large award of money damages for physical and emotional injuries he claimed
to have suffered from allegedly being shot, l\/lattingly was able to obtain counsel to pursue
his bogus lawsuit because ofthe false charges filed bythe defendants herein. Shortly after
Mr. Sti||wagon’s trial, howeverl Mattingly’s civil attorney purchased the trial transcript, read
it, and dropped the lawsuit against l\/lr. Stillwagon immediately. Nonetheless, the P|aintiff
was forced to spend thousands of dollars defending that frivolous litigation.

132. The coercive efforts of the Delaware Police did have the desired effect of
convincing Defendant Mattingly to change his testimony, and to say the things that the
detectives wanted him to say, The police defendants now began to coach their “victim" as
to specifically how he should testify. There were four primary areas where i\/lattingly’s story
required serious adjustment, in order to strengthen and “improve” the case against Jim
Sti||wagon. The first was l\/lattingly’s alcohol consumption. The second was getting
Mattingly to adapt the “mutual road rage” narrative Third they had to come up with some
explanation for i\/lattingly’s final attack on l\/lr. Stillwagon in the Autozone lot. Fourth,
Mattingly would have to swear that he was definitely shot by the P|aintiff, and he would

need to have a clear and specific memory of it.

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133. Once l\/lattingly had demonstrated his willingness to change his testimony,
the Delaware Police began to teach him the details of the story they wanted him to swear
to. This was a two-step process First, they revealed to Mattingly what all of the other
evidence showed Then they worked with him and coached him on the various things he
needed to say in order to conform to the known evidence, and still implicate i\/lr. Stillwagon
as the culprit. Basical|y, they were getting l\/lattingly’s story straight, and manufacturing
false testimony that would support the police narrative

134. On the question of alcohol consumption, l\/lattingly’s first statement to the
Delaware Police was a complete denial of any consumption of alcohol that day, at home
or on the road: “Segaard: Had you had anything at all to drink earlier that day? Mattingly:
No.”; Segaard: . . . coming up 42, did you stop anywhere? l\/lattingly: l don’t think so." Then
the detective revealed to l\/lr. Mattingly that they had video of his stop at the l\/larathon
station by the Route 33 bridge i\/lattingly got the hintz “Segaard: So did you stop at that
gas station and buy beer? Mattingly: l bought a six pack.” Then Defendant Segaard told
him that officers on the scene would testify to significant alcohol consumption: “The officer
who. . . was attending to you smelled alcoholic beverage on your person. . . You don’t
smell that just from one beer.” Defendant Gerke suggested how l\/lattingly should say it:
. . this is my opinion. . . You tell me whether it’s true or not l think you. . . buy some beer.

all of a sudden this crazy ass on a

motorcycle is coming up on your ass l\/lattingly: Yeah. Gerke: And he starts fucking with
you. . Mattingly subsequently adapted this story and testified that he had consumed
about four beers or so before driving. ln this way he did not appear dishonest at trial, in

the face of the other evidence

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135. Next the Delaware Police needed Mattingly to conform to their “mutual road
rage” theory. His initial statement completely contradicted the police narrative, in which
both men had supposedly engaged in following each other closely, hitting their brakes
suddenly in a manner that was dangerous to the other, and similar forms of aggressive
driving, in an ongoing and continuous escalation over a 10-14 mile stretch. Defendant
Mattingly specifically denied that he had done any of those things: “Segaard: l really need
to know that if there was any kind of jockeying and passing, or - - l\/lattingly: No.”;
“Segaard: Was there ever a time when you passed him and slammed on your brakes?
i\/lattingly: No. . . At no time did l do that Because he could have been injured ifl did that,
you know."

136. Once again, the detectives revealed to l\/ir. i\/lattingly what the independent,
irrefutable evidence was going to be, and they instructed him to say what the other
witnesses were saying. They told him frankly that if he didn’t change his testimony it would
jeopardize their goal of convicting Jim Stillwagon:

Segaard: if we get to court. . . and you continue to say that you made no

aggressive driving maneuvers they’re going to crucify you. . l have five

witnesses who say you did Okay? l can’t - - it’s completely unbelievable that

you were not participating in this road rage in some way. . You haven't said

that and you need to. . . Five motorists saw you guys. . . l have people who

have written page-long descriptions of what you were doing and they all say

that vou were in the wronq. . . [mechanical problems] does not explain driving

into oncoming traffic for an extended period of time running more than one

car off the road and pulling in front of the motorcycle slamming on the
brakes Two women saw you do that

l\/lattingly: Wow.

Segaard: So don’t say wow. Remember doing it, and tell us about it. You
have to. This case is - - it’s going to get all screwed up if you get up there
. . and you still sit there and say well, l didn’t do it They’re going to - - it’s not
- - we’re going to lose We’ll lose the case

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137. Defendant Gerke also participated fully in this coercive coaching. Knowing
that no independent witness had reported seeing Mr. Stillwagon ever drive improperly, a
part of molding and creating Defendant l\/lattingly’s new story was to develop false details
of road rage behavior on the part of l\/lr. Stillwagon:

Gerke: So . . . you fucked up and you engaged in some retarded - -
l\/lattingly: Back and forth?

Gerke: - - back and forth with this guy and you were jamming on your
brakes We’ve all done it. All right? And you were fucking with this dude
and he lost his cool and shot you. That’s the facts. Okay? . . _

l\/lr. l\/lattingly, l am asking you for the last time, l need you to please
be a cooperative witness . . you need to include the details of what led up
to you becoming a victim. That includes you acting like an asshole on the
road . .

You pulled to the i\/larathon station and you buy some beer. . . and all
of a sudden this crazy ass on a motorcycle is coming up on your ass.
i\/lattingly: Yeah.

Gerke: And he starts fucking with you. . . Am l right?

l\/lattingly: Well, l was yelling back off, back off.

Gerke: Yeah. And he’s probably thinking . . . you’re telling him to fuck off,
fuck off. Here comes the miscommunication, and he’s pissed off at you and
he starts doing stupid shit to you. You get pissed off at him, and you start
doing stupid shit to him. Alright?

Having gone over the details of what they wanted i\/lr. l\/lattingly to say in support of
their “mutual road rage” story, Defendant Gerke told l\/lattingly “So, sir, let’s start over.
/-\lright. Let’s start over with your statement” The questioning was clearly biased to obtain
the desired result, however. At no time during their entire investigationl for example, did
the Delaware Police even ask l\/lattingly if he had hidden in waiting at Section Line Road
in order to go after the motorcycle again. This would have contradicted their theory.

138. As to the third issue, it was critical to the Delaware Police that they be able
to portray Jim Stillwagon as the aggressor during the time when the gunfire occurred This

was a mandatory element of each of the four felonies they had filed against him. if

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l\/lattingly had been the aggressor, then lVlr. Stillwagon wasjust defending himself. in the
police report, the defendants stated that from the time they were on the exit ramp fon/vard
Defendant l\/lattingly was trying to get away from the P|aintiff and in “fear in light of being
shot at.” l\/lr. Sti||wagon, on the other hand had described a clearly aggressive attack by
the truck in the Autozone lot, which would fully undercut the police theory.

139. Defendant i\/lattingly’s first story about that final attack was that it never
happened He told the detectives that he pulled into the Autozone lot, parked his truck
facing back toward William Street, exactly where police found it when they arrived and
never moved it again. He even drew this false story onto a diagram provided for him by
the detectives it was at this point that the Delaware Police told l\/|attingly about the
existence of the Eagles video:

Segaard: l watched - - this lodge right here, it’s an Eagles Lodge. They have

a video camera . . . So l got to see you pull in there . . . But what really

perplexed me is . . . you came down and pulled in just like you said. . . but

then you went out, acted like you were going to leave, came back in and then
went like that,

l\/lattingly: Really?
Segaard: Yeah. Biows my mind. l don’t know why you did that and l’m trying

to - - l was hoping you could help me understand . . l’m just trying to

understand Because . . . driving back towards the guy shooting at you is

something that people are going to go, why the hell did he do that?

The detectives’ coaching point was crystal clear. i\/lattingly could not say that
Stillwagon was lying. He could not simply deny that this final charge toward the P|aintiff
ever happened lt had been recorded lt would need to bejustified or explained somehow.

140. Defendant l\/lattingly abandoned his first story, and tried a second one He

no longer claimed he had just pulled in and parked He now agreed that he apparently had

driven out onto the street and away, then circled back into the lot, then driven straight

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toward l\/lr. Sti||wagon. But his story switched from “l didn’t do that” to “l have no memory
of doing that, or.why l did it." The following conversations demonstrate Mattingly’s change
of position:

Mattingly: You said l wentdown to some other place, came back. ijustdon’t
remember doing that.

Segaard: . . . the video shows you driving into here, kind of facing him,
driving back out, and then driving back in. . . And that’s what we don’t
understand . . You pulled in here He pulled in here You drove towards
him. . . then you drove out. Could have gone away, but then drove back.

Mattingly: Rea|ly?
Segaard: Yeah.
Mattingly: . . .did he pursue?

Segaard: No. He stayed there He stayed right where he was and you left.

Mattingly: lt doesn’t make any sense

Segaard: l know. We’re trying to find out why you might have done that

l\/latting|y: l don’t know. l wish l had a good answer for you. l mean, l don’t

recall it is the thing.

Segaard: We know because there’s a video camera shooting out this way.

. . This is where everybody in the police department goes what the fuck,

because you pull out, drive a tiny little circle, come back right where you

were. And he’s still there Then you drive towards him. . .

Mattingly: Uh-huh.

The detectives were not pleased with Mattingly’s second story either. They needed
l\/lattingly to say he did remember, and to give some plausible justification. The only
rational, obvious explanation was that Mr. Stillwagon was telling the truth, he really was
under attack by the drunk driver in the truck. The Delaware Police did not want this
explanation to remain uncontested

141. The detectives told l\/lattingly he could not testify that he did not remember.
Defendant Gerke told him they wanted him to give a statement “without any of the BS

about haze, and forgetting stuff, and you know, memory loss.” What followed was a

brainstorming session in which the detectives and Defendant Mattingly talked through a

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variety of possible excuses that Mattingly might give, and how each one would sound The
Delaware Police were helping l\/lattingly to fabricate false testimony. They explored several
options:

l\/iattingly: Got to be fear. Got to be fear.

Mattingly : Probably scared out of my mind

§le_g_a:rd: . . . did you just not know what to do, or did you just freak out,

Mattingly: Yeah. l was freaking out.

l\/lattingly: if it seemed like l was driving towards him, l didn’t see that he was
there

Mattingly: Where was he? l didn’t even know where he was.

Gerke: So at no point when you did the circling of your parking lot, and

correct me if l’m wrong, did you ever see his motorcycle or him?

Mattingly: No. And l was looking for him, too.

Gerke: Could the behavior of your driving, could it be you pulled into the

parking lot, you didn’t see him, and you did another loop and said maybe l

shouldn’t be going back outjust in case he’s still there?

Mattingly: He’s gone Where is he? He’s gone

The defendants were never able to concoct any sensible alternative explanation for
l\/iattingly’s videotaped final attack on the P|aintiff. The Delaware Police eventually opted
to try and hide or minimize the issue in their conclusions in the investigation Report, they
briefly referenced this event as merely “panicked confusion.”

142. in addition to the Eagles video, the defendants also had the problem of
numerous eyewitnesses to contend with. Several witnesses in the area had come fon/vard,
reporting that they had seen the truck drive away, then come back and make one more run
at l\/lr. Sti||wagon. The witnesses generally perceived this as an aggressive act. These

witnesses were named Tonya Keeran, Christian l\/lallory, Frank Orcena and Daniel Powell.

These witnesses were simply buried by the defendants None of those witnesses was put

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on the grand jury witness list. l\/lost were never even interviewed and none was called by
the City of Delaware at trial.

143. The last point on which the Delaware Police sought to change Defendant
Mattingly’s testimony was central to their whole narrative He had to say he had been shot
in the head The police defendants had announced this “fact” to the media and the public
before they even met l\/lattingly or saw his injury, They had alleged this in the criminal
charges against l\/lr. Sti||wagon. But at the same time that the police were taking these
steps l\/lattingly himself was telling people he did not remember whether he had been shot
or merely struck in the head When they did meet with him, i\/lattingly told the police
repeatedly that he only remembered the P|aintiff shooting at the passenger side of the
truck, coming to the rear of the truck bed yelling, and then his memory ended:

l\/lattingly: He was firing at me on the passenger side yelling at me the whole

time you’re dead. . . l got out on the driver’s side kind of ducking out of it like

this and l put my hands up and he was coming around the back . . . of the

truck . . . That’s all l remember. (First interview).

Mattingly: First l saw him was bam, bam, bam, coming to the passenger side

. . l get out of the truck like this and he’s right there . . as l was making that

motion, his motion was back towards there and he’s yelling. . . and l’m like

this and that’s all l remember. (Second interview)

As he had been at the hospital, Defendant Mattingly was unwilling to commit to
saying that he had been shot and that he remembered it.

144. When the detectives asked De iviattingiy about ivir. Stillwagon’s
statement that he had hit the defendant not shot him, Mattingly’s response was revealing.
He wanted to know what the video showed The detectives who had not yet seen the
enhanced video, were all too happy to reassure l\/latting|y that he could safely adapt their
story:

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Segaard: Because . . the guy’s saying that he hit you with the gun.

l\/lattingly: Right. Right. . What’s interesting, you said that the video got most

ofthat. if he had come fon/vard and struck me with the gun, wouldn’t that be

. . . on the video?

Segaard: . . . you can’t see you get out . . . or him walk up to the driver’s

side.

l\/lattingly: You can’t tell if he actually struck me?

Segaard: You can’t . . .

With that said the detectives told l\/lr. l\/lattinglyto abandon his earlier statement that
he could not recall, and to fully support the Delaware Police narrative;

Segaard: . . . the prosecutor puts you on the stand and says, l\/lr. l\/lattingly,

tell us what happened on the date of September 30th, 2012, and you’re going

to say l was driving to see my dad the dude shot me. Well, the defense

team is going to say, . . he hit you with the gun, he didn’t shoot you. . . You’re

going to say, no, he shot me.

145. Defendant Gerke emphasized to l\/lr. Mattingly that he should not testify to
or even mention his earlier versions of the story, but rather he should testify to the new
details that they had been coaching him to say. Gerke told him: . . the only fact here is
you know, you got shot in the head and the events leading up to it. So when the Grand
Jury. . . when you go there you go exactly - - minus the beqinninq of our talk - - everything
that you stated.”

146. By the time he testified Defendant i\/lattingly swore to everything he was
coached to say. He acknowledged he had been drinking. He fully adapted the mutual
road rage scenario. He conceded and tried to explain his final assault upon l\/lr. Stillwagon

in the Autozone lot. And he swore that he had a clear memory of being shot: “Q. When

you said he shot you, did you - - do you rememberthe actual impact of the shot? A. Yeah.”

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2. Destrovinq Exculpatorv thsical Evidence

147. The defendants intentionally destroyed discarded or caused to be destroyed
exculpatory evidence in this case i\/lost significantly the defendants destroyed DNA
evidence The cut on the back of Defendant l\/lattingly’s head was caused by sharp contact
with l\/lr. Sti||wagon’s firearm, when l\/lr. Stillwagon used the weapon to strike the defendant
and then push him downward This caused Mattingly to bleed lt was a near certainty that
blood was deposited on the weapon, as well as other DNA source material such as hair
or sweat, during the time when the gun was pressed against the defendant’s head The
firearm was taken from the scene and continuously in the custody of the defendants
thereafter. The defendants failed to test the surface of the gun for DNA, although they
knew that such a test was important in light of the disputed facts if Mattingly’s DNA was
found on the gun, then the P|aintiff had to be telling the truth, and the “shot from a
distance” story had to be false By the time that l\/lr. Sti||wagon’s legal team got access to
the firearm it had been wiped clean.

148. During l\/lr. l\/lattingly’s two interviews the defendants provided him with paper
and prepared maps upon which l\/lr. l\/lattingly made several drawings and diagrams
These documents were known to the defendants to be evidence, and specifically valuable
exculpatory and impeachment evidence forthe P|aintiff and his counsel. The defendants
destroyed the iviattingly drawings and diagrams before the Piaintiff could obtain them.

149. During l\/lr. Sti||wagon’s interview, the defendants provided him paper and
prepared maps upon which l\/lr. Stillwagon also created drawings and diagrams explaining
the facts of what had happened to him that day. The defendants similarly destroyed this

exculpatory evidence without providing copies to the P|aintiff or his counsel.

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3. Failinq to Preserve Evidence, and
Failinq to Disclose Evidence

150. During his interview, l\/lr. Stillwagon told the defendants that a witness had
stopped and had made a phone call to police on the P|aintiff’s behalf, at the intersection
of Watkins/l\/loore Road and Route 42. This was an important witness whose identity was
unknown, but who could be found through police call records The defendants promised
l\/lr. Stillwagon that they would take steps to obtain and preserve this information as a part
of their investigation The defendants did not obtain or preserve this known exculpatory
evidence As a result, this unknown male witness was never identified

151. During his interview, i\/lr. Stillwagon told the defendants about the existence
of, and location of, skid marks on Route 42. These marks would match Defendant
Mattingly’s truck, and confirm the extreme nature of Mattingly’s driving, and efforts to hit
the P|aintiff on his motorcycle The defendants told l\/lr. Stillwagon that they would take
steps to obtain and preserve this evidence as a part of their investigation The defendants
did not obtain or preserve this known exculpatory evidence

152. The defendants told both l\/lr. Mattingly and the P|aintiff’s legal team that they
were going to have a forensic mechanic examine l\/lr l\/lattingly’s truck, to confirm or
contradict his claim of serious mechanical failings on the date of the incident herein The
truck remained in the defendants’ custody for months but they never had it examined
thus failing to obtain or preserve this known exculpatory evidence

153. During his interview i\/lr. Stillwagon told the defendants that Defendant
Mattingly had waited in ambush at the intersection of Route 42 and Section Line Road and

that Mattingly likely had pulled in and concealed himself at or near a gas station located

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at that corner. Witness Reninger confirmed seeing the truck pull out from that area. The
defendants knew or should have known that witnesses and security video from that
business would be exculpatory evidence The defendants failed to obtain and preserve
this evidence

154. in addition the defendants concealed and failed to disclose to either the
prosecutor or l\/lr. Sti||wagon, important exculpatory documents These documents did not
come to light until the criminal trial of lVlr. Stillwagon had begun These documents
included a report from an investigating agent of the Ohio Bureau of Criminal investigation,
and supplemental investigation reports by the detectives herein which contained among
other exculpatory information, an admission by the Delaware Police that the evidence did
not support a conclusion that l\/lr. l\/lattingly’s injury was a gunshot wound The failure to
disclose these document was a clear m violation

155. Using the manufactured final version of Defendant l\/lattingly’s testimony,and
selectively relying upon evidence which supported their theory and ignoring the evidence
which contradicted it, the Delaware Police Defendants created materially false and
misleading documents including the official investigation Report, Grand Jury Packet, and
a Grand Jury video powerpoint presentation regarding the alleged facts ofthe case. These
documents were then used to obtain, support, pursue and justify the prosecution of l\/lr.
Stillwagon For exan‘ip'e, tie defendants faiseiy and inaccurately described all of the
events prior to Nlr. Stillwagon shooting at the truck as “the reckless driving incidents”, “the
reckless operation events” and the “road rage portion”, specifically for the purpose of
concealing l\/lr. Sti||wagon’s valid self-defense position Those prior events were not merely
reckless driving, nor were they mutual road rage They were events which would establish

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that Defendant Mattingly was the aggressor, and that the P|aintiff had a reasonable belief
that he was in imminent danger from the truck, both of which were elements of a self-
defense claim.

EV|DENCE OF MAL|CE, BlAS AND BAD FA|TH

156. The groundless arrest and prosecution of l\/lr. Stillwagon was itself objective
evidence of malice on the part of the defendants Similarly, the fabrication and
manipulation of evidence and the other due process violations by the defendants
constituted evidence of malice, bias and bad faith by the defendants toward the P|aintiff.
in addition, the defendants made specific statements which were disparaging toward l\/lr.
Sti||wagon, and evidenced malice They discussed the P|aintiff’s personal history, and his
athletic achievements in insulting ways. When l\/lr. l\/lattingly mentioned that the P|aintiff
had played the position of “nose guard” on his football teams Mattingly said that “you have
to be half nuts to be a nose guard” Defendant Segaard responded “well, it looks like he’s
all the way nuts now.” They spoke about l\/lr. Stillwagon in his “riding leather” thinking he
was “Billy Badass out on the road" and sarcastically referred to him as “this poor football
hero grandpa.” These comments occurred only one day afterthe incident, in their very first
meeting.

157. On the next day, during i\/lattingly’s second interview, he and the detectives
continued their personal attacks on l\/lr. Sti||wagon’s character. Defendant Segaard again
referred to the P|aintiff as “nuts." Defendant Gerke stated “you want to know my honest
opinion, that motherfucker is crazy.” They were critical of the P|aintiff’s athletic and
business accomplishments saying that “he has a lot of sympathy for who he is and has

been in the past”, and “he’s got money, people are going to take his side right away."

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158. Defendants l\/lattingly, Segaard and even the Delaware Chief of Police, all
made public statements in the media within the first 24 hours or so of the event, all
declaring l\/lr. Sti||wagon’s guilt and putting forth the false police narrative Defendant
Segaard gave a media statement to television stations in violation of departmental
regulations declaring that l\/lr. Stillwagon had shot a man without anyjustification The
Delaware Police encouraged Defendant Mattingly to engage in publicity in order to
effectively try their case in the media. When television crews arrived at Mattingly’s home,
Detective Segaard told him it wouldn’t hurt to give an interview. Segaard told him to “focus
on how much it hurt getting shot", and to “cry a little bit if you want to_”

THE OUTCOME - FAVORABLE TERM|NAT|ON

159. As the criminal trial approached various plea bargains were offered to l\/lr.
Sti||wagon, but the P|aintiff insisted upon going to trial. At that trial, which occurred on
October1 - October 4, 2013, the truth came out i\/ls Reininger, i\/is. Sayre, i\/lr. Cogan and
Mr. Powell all testified Mr. Stillwagon testified on his own behalf. The case brought by the
Delaware Police fell apart completely. Defendant Mattingly admitted that he had nearly
killed l\/lr. Stillwagon with his truck, and that he knew he was engaging in life-threatening
conduct at the time he did those things Defendant Mattingly further admitted that he had
been lying from the very beginning Detective Segaard admitted that the Delaware Police
knew from the beginning that iviattingly was an untrustworthy witness who was lying to
them. The enhanced video of the events in the Autozone lot was shown to the Court and
jury. There was no evidence presented to prove that Mr. l\/lattingly had been shot, and by
the end of the case the prosecutors adapted an alternative theory that Mattingly had

suffered a “hearing loss" constituting serious physical harm.

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160. The case never even made it to the jury. The Court dismissed all counts
entering an order ofjudgment of acquittal pursuant to Ohio Criminal Rule 29, finding that
the evidence was clearly insufficient to sustain a conviction of l\/lr. Stillwagon on any of the
alleged offenses The Court pointed out that even Detective Segaard conceded he was
unable to find any evidence confirming that l\/lr. i\/iattingly’s head wound was from a
gunshot The Court stated “it is very clear to the Court that . . . the only participant in this
incident, series of incidents seven or eight, that is credible in any way, is l\/lr. Sti||wagon.
The quote, alleged victim, is not credible in any way.”

161. Regarding the elements of the four counts of felonious assault alleged
against the P|aintiff, the Court was quite clear that no credible evidence supported those
charges He held as follows:

The Court: . . . lVlr. Sti||wagon, if he wanted to shoot someone, as he said he

would have shot him. .There is no evidence in this record that this defendant

knowingly attempted to cause or caused physical harm by a deadly weapon.

Assuming there was, and there isn’tl then we have the issue of self
defense l don’t care what the definition of self defense is that you use, the

Court is of the opinion that reasonable minds cannot differ, that if the first

hurdle as to cause or attempt to cause could be jumped you can have a

hurdle of self defense

This Court is ofthe opinion reasonable minds can’t disagree as to this
issue, with the facts ofthis case Based on those findings the Court is going
to dismiss the remaining charges against this defendant . . Mr. Sti||wagon,

you have handled yourself admirablythroughoutthis whole process You are
free to go, sir.

Mr. Stillwagon: Thank you, sir.

162. The criminal charges were all terminated favorably to the P|aintiff, but the
damages that he suffered and continues to suffer have been immense The experience
of September 30, 2012, was a nightmare for i\/lr. Stillwagon from beginning to end From

the near-death attacks on the road through the Autozone lot, the P|aintiff was in fear for

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his life Then the police arrived pointing their guns at him and screaming, putting him right
back into a fearful situation Being forced to the ground, locked in a cruiser, handcuffed
and taken to jail, were all physically painful and personally humiliating experiences

163. Thereafter, the Delaware Police Defendants treated l\/lr. Stillwagon as a
dangerous criminal. Wearing an orangejumpsuit, handcuffed and shackled locked in a
jail cell, formally arrested and forced to appear at a public arraignment in jail clothes and
handcuffs all of these experiences were the source of embarrassment to i\/lr. Sti||wagon.
He was forced to call his wife, ask her to arrange bail and a lawyer, and try to explain what
was going on.

164. The intentional, incessant and sensationalistic media campaign by the
defendants caused a huge portion of the public to hear the false allegations against l\/lr.
Sti||wagon. The defendants packaged the story in the dramatic and memorable narrative
which was the untrue basis fortheir charges: a local football legend became infuriated with
road rage at another driver, then chased hi_m down and shot him in the head in cold blood
This story was spread so far and wide, so quickly, that actual and potential business
contacts for the P|aintiff’s business knew about it in other states and other countries This
horrible accusation will live forever on the internet, and always be an unfair attack on the
P|aintiff’s character. The prosecutor in Delaware County still posts l\/lr. Stillwagon and the
false accusations against him on her “Wall of Shame” to this day, almost a year after he
was found innocent

165. For more than a year after his arrest, the P|aintiff had four serious felony
charges hanging over his head He knew that he was facing a maximum penalty of over

40 years in prison, which was a life sentence for a man in his sixties. He lived with the

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daily fear that a judge and jury would be swayed by the defendants’ orchestrated
presentation of false charges and that he would be wrongly convicted He was forced to
watch his wife, daughters and even grandchildren labor under that same fear, and know
that friends and strangers alike were routinely asking his family members about what the
Delaware Police claimed he had done. Even after his acquittal these highly embarrassing
inquiries continue, and they will continue for the rest of his life

166. Financially, the acts of the defendants have proximately caused the P|aintiff
and his business enterprises to suffer immense expense and lost income, past and future
They have caused the P|aintiff great anxiety and mental anguish, and a huge amount of
time and inconvenience These damages are ongoing

NOQUAL|F|ED lMMUNlTY DEFENSE

167. The individual police defendants are not entitled to avoid liability for their
actions based upon the defense of qualified immunity. The legal rights which the
defendants violated herein were clearly and particularly established priorto September 30,
2012. Any reasonable police officer would have understood as of that date that it was
unlawful to engage in the types of conduct alleged above Additionally, these police
defendants were trained in the relevant topics such as the definition of probable cause, the
need for trustworthy information to support probable cause, the requirement that
exculpatory evidence be included in the probable cause analysis the need to preserve
exculpatory evidence, the prohibitions against manufacturing false evidence or suppressing
known evidence, and the other matters alleged Further, the police defendants were
subject to departmental rules and regulations setting out these various duties and

standards

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168. Even more pointedly, in the years 2008-2012, the City of Delaware, Delaware
Police Department, Police Chief, and Defendant Gerke had been named as defendants
in a lawsuit in this Court, entitled Foos v. Citv of Delaware. et al., Case 2:08-cv-00873_ ln
the w case, Defendant Gerke had been confronted by a man, apparently under the
influence of some intoxicant, who was behind the wheel of a pickup truck. Defendant
Gerke smashed the truck window and used force upon the driver to subdue him. The
driver of the truck subsequently died. The Delaware Police Defendants including l\/lr.
Gerke, successfully argued thatthe use of force was necessary because Defendant Gerke
was reasonably concerned that the driver might use his truck as a weapon and cause him
harm, and because he was reasonably apprehensive thatthe driver ofthe truck might have
a weapon on his person. These were the exact arguments asserted by lVlr. Sti||wagon.

F|RST CLA|M - FOURTH AMENDMENT. FALSE ARREST

169. Said acts by the defendants constituted an arrest of Mr. Stillwagon without
probable causel in violation of the Fourth Amendment and 42 U.S.C. §1983.

SECOND CLA|M - FOURTH AMENDMENT, MAL|C|OUS PROSECUT|ON

170. Said acts by the defendants constituted a malicious prosecution without
probable cause, in violation of the Fourth Amendment and 42 U.S.C.§1983. The
defendants initiated the prosecution, continued the prosecution, made the decision to
prosecute participated in the decision to prosecute and/or influenced the decision to
prosecute l\/lr. Sti||wagon, all without probable cause

TH|RD CLA|M - FOURTEENTH AMEND|V|ENT.
DUE PROCESS

171. The said acts by the defendants constituted deprivations of liberty without

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due process in violation of the Fourteenth Amendment Procedurai Due Process Clause,
violations of substantive due process and 42 U.S.C. §1983. Defendants’ due process
violations included manufacturing and fabricating evidence, the knowing use of false or
fabricated evidence, coercing false testimony, knowingly creating false and materially
misleading reports and other official documents used to support a prosecution,
suppressing and destroying exculpatory evidence, deliberate omission of material
evidence, failing to gather or preserve known exculpatory evidence, engaging in improper
investigatory techniques so coercive and abusive that they would be known to yield
unreliable and false information, providing details and information to a witness to bolster
false testimony, and other similar actions
FOURTH CLAlM - §1983 CONSP|RACY

172. The said acts by all defendants including Defendant l\/lattingly, constituted
conspiracy to violate the P|aintiff’s constitutional rights. The defendants combined and
acted in concert, and entered into an agreement to injure the P|aintiff by unlawful means
A plan was put in place to arrest, prosecute, and convict the P|aintiff, the defendants
shared the objective to engage in these unlawful acts and overt acts were committed in
furtherance thereof. A party alleging a §1983 conspiracy must plead their claim with a
substantial amount of specific detail. This complaint meets the legal requirement

F|FTH CLAlM - SUPERV|SORY LlAB|LlTV

173. in addition to their direct personal participation in the constitutional violations

herein, Defendants Radabaugh and Wi|lauer were at all times relevant supervisors of the

Delaware Police Department These defendants are also liable as supervisors in that they

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were aware of and/or present for the unconstitutional acts of the other defendants but
failed to prevent them. They further failed to exercise their appropriate command
functions failed to properlytrain and supervise their subordinates and approved or ratified
the unconstitutional acts of their subordinates
SlXTH CLAlM - MUN|C|PAL LlABlLlTY

174. The said unlawful acts by the individual defendants herein were proximately
caused by certain customs and policies existing in the City of Delaware, and the Delaware
Police Department. These customs and policies include, but are not limited to, failure to
adequately and properly train police officers regarding the constitutional rights of citizens
proper investigation techniques and proper handling of evidence, and other related topics;
failure to adequately and properly hire, screen and select persons for employment as
police officers and detectives; failure to adequately and properly supervise and discipline
employees Additionally, in this case the Police Chief and supervisory officers personally
participated in, acquiesced in, ratified encouraged and/or approved the alleged
unconstitutional conduct

SEVENTH CLAlM - MAL|C|OUS PROSECUT|ON
UNDER OH|O LAW

175. Said acts by the defendants constituted the tort of malicious prosecution
under Ohio law.

ElGHTH CLAlM - ClVlL CONSP|RACY UNDER
OH|O LAW

176. Said acts bythe defendants constituted the tort of civil conspiracy under Ohio

law.

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NlNTH CLAlM - ABUSE OF PROCESS
UNDER OH|O LAW

177. The filing by Defendant Mattingly of the false and groundless damage action
against the P|aintiff constituted abuse of process and the malicious pursuit of civil
litigation, in violation of Ohio law.

TENTH CLAlM - DEFAMAT|ON

178. Said acts by the defendants including Defendant Mattingly constituted

defamation under Ohio law.

ELEVENTH CLAlM - ASSAULT
179. The said acts by Defendant Mattingly constituted assault under Ohio law.
TWELFTH CLAlM - SPOLlAT|ON OF EV|DENCE

180. The said acts by the defendants constituted spoliation of evidence under

Ohio law.

WHEREFORE, the P|aintiff demands judgment against the defendants jointly and

severally, for compensatory damages punitive damages reasonable attorney fees and

other costs incurred herein, and such other relief as may be proper.

Respectfully submitted

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3 @e/o ivicNamara j (0002461)
Trial Attorney for P|ain iff

88 E. Broad St, Suite 1350
Columbus, OH 43215
(614) 464-2770

psilbach@yahoo.com

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JURY DEl\/lAND

The P|aintiff hereby demands a jury of eight (8) persons to hear and decide this

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Jam .l\/lcNamara (0(10()'|)246
Tri l torney for P|aintiff

88 . Broad St, Suite 1350
Columbus, OH 43215

(614) 464-2770
psilbach@yahoo.com

CaS€.

 

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